     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25       Page 1 of 62


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                     (17-20B) (Part 17-20B) Supplement #1.0 to Part 17-20A
                                Case No. 25-cv-00613-MLB                                     MAY 2 3 2025

                        IN THE UNITED STATES DISTRICT COURT                                K~~              l~'ER, Clerk
                                                                                           By ~                     Clerk
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

                            Filed on Friday, April 4, 2024, 11:59:35 AM


ULYSSES T. WARE and d(b/a GROUP MANAGEMENT , (a sole proprietorship),
(Debtor)
Appellants,

v.

ALPHA CAPITAL, AG, et al., Predatory Unregistered Broker-Dealers,
                                                                         Appx B
Appellees.


                      On Appeal from the United States Bankruptcy Court
                             for the Northern District of Georgia
                                   Case No. 03-93031-WLH


[Docket Text] Re: (1) Appellants' Request for Judicial Notice, and Memorandum of Law
Regarding Mandatory Judicial Notice Pursuant to Federal Rule of Evidence 201(c)(2) of
Binding Dispositive Factual Admissions, Confessions, and Stipulations Adverse to Appellees
Contained Herein, in the JSAR, and Within Dkt. 19-4 of the Joint Stipulated Appellate
Record, Conclusively Resolving All Appellate Issues Identified in Dkt. 292. [JSAR Dkt. 5-13,
at pp. 6-23); and (2) Appellants' Mandatory Rule 201(e) Entitlement to be Heard.

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Respectfully submitted this 4th day of April 2025 to the Chambers of the Hon. District Judge

Michael L. Brown and the Office of the District Clerk (NDGA) pursuant to 28 USC § 1654 and

18 USC§§ 2071 (a), (b).



Page 1 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25       Page 2 of 62




By: /s/ Ulysses T. Ware
Ulysses, Attorney in Fact for Appellants
Group Management and Ulysses T. Ware




Page 2 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 20l(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
          Case 1:25-cv-00613-MLB                                           Document 41-3                              Filed 05/23/25                          Page 3 of 62




                                                                        Table of Contents
A.        INTRODUCTION ... ...... .......... ............ ................. ..... .. ..... ................. ................................ .. ............... 4
Part 1. ......................... ....... .. .... ......... .. ..... ...... .. ..... .. .. ....................... ..... ...... ............ ......... ..... .. ..... .. ............... 5
I. PRELIMINARY STATEMENT ... ... ................................................................................ ...................... 5
II. GOVERNING LEGAL STANDARD FOR JUDICIAL NOTICE ......................... .. ...... .. ........ ......... 8
III. THE BINDING STIPULATIONS OF DKT. 19-4 ............. .. ............. ... ............ .. ...................... .. ... ... 10
IV. RESOLUTION OF ALL APPELLATE ISSUES (DKT. 292) [JSAR Dkt. 5-13 on pages 6 to 23)
BY JUDICIALLY NOTICED STIPULATIONS (DKT. 19-4) . ..... ....... .................... .. ... .. .. .. ................. 12
Part 2 . ...... .. ...... .... ... .. .. .. ...... .. .. ................... .... ..... .................... .. ....... .. ....................... ... .. .. ..... .. ... .... .. ... .... ... . 16
I. GOVERNING LEGAL STANDARD FOR JUDJCIAL NOTICE ........................................... ........ 16
II. APPLICATION OF LEGAL STANDARD TO REQUESTED EXHIBITS . .. .. .. ... ..... .. ... .. ... .... ..... 17
     A. Exhibit 1: State Bar of Georgia Official Record (JSAR Dkt. 5-13, pp. 40-41) .. ........ .. .. .. .. .. .. ..... 18
     B. Exhibit 2: SEC EDGAR Governmental Website Public Filing (Form SB-2) .. .................... .. ..... 19
     C. Exhibit 3: FINRA Regulatory Determination (JSAR Dkt. 5-13, p. 48) .......... ..... .. .............. .. .. .. .. 20
III. SUMMARY ..... .......... ............ ......................... .. ... ..................... ... ..... ...... .. .. ....... .. .............. .. ................ 21
Part 3 .. ........ .. .... ........... ...... ........ ............ .. ............ ... .. ..... ...... ............. .. ... ... .. .......... ............... ................ ....... 22
FRE 201(c)(2) Regulatory, Accurate, and Irrefutable Sources-Necessary Information to take
judicial notice of Regulatory Facts . ...................................... .. ........... ..... ........... .. ... .. ......... .. ... ....... .. ..... ... 24
     1.   Exhibit 1 [JSAR Dkt. 5-13 pages 40-41] (stipulated) (Coordinated criminal usury unlawful
     debt collection activity)--State Bar of Georgia's (Regulatory) Fabricated and Counterfeit
     purported Affidavit of Personal Service-Hobbs Act overt and predicate acts, Jim Crow racially-
     motivated, retaliatory, malicious conspiracy to extort and steal the personal and business
     property of Appellant Ulysses T. Ware, his license to practice law ................... ....... .. ..... .. ......... .... . 25
     2.    E xhibit 2 (see Attachment) [SEC's Edgar Regulatory Public Records System] Appellant
     Baker & McKenzie, LLP, et al. accurate and reliable Hobbs Act Criminal Form SB-2 to extort
     Appellant Group Management out of +39 million (+$522 million) free-trading equity securities,
     to aid, abet, and facilitate the collection of GX 1-4, and GX 5, predatory criminal usury unlawful
     debts .......... .. ............. .. ........ ... ....... ........ ... ......... .......... ....... ...... ... ........ .. ... .......... .. ... ..... ........................... 28
    3.    Exhibit 3 [JSAR Dkt. 5-13 on page 48] (stipulated) FINRA's May 17, 2021, accurate and
    reliable, irrefutable regulatory ruling of unregistered broker-dealer status for each of Appellee
    KTS' clients that appeared in 03-93031 Chapter 11, [JSAR 0kt. 5-2, April 10, 2003), which KTS
    knowingly in bad faith , and recklessly suppressed and concealed, without disclosing to the Court,
    the UST, the Debtor, and other creditors their clients' unregistered broker-dealer status in
    violation of the District Court (NDGA) Rules on Professional Conduct Rules 3.3 and 8.4 ... ...... .. . 29
CERTIFICATE OF SERVICE ... .. ...... ............. .. ..................... .... ... ... ... ...... .. ... .. .. ........ .. ... .... .. .................. 31
End of document ............ .... .... .. .... ....... ........... .... ... .... ... ..... .. .......... .. ........ ....... .. .. .. ..... ... ........ .................. ... 31




Page 3 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
       Case 1:25-cv-00613-MLB              Document 41-3            Filed 05/23/25         Page 4 of 62




A.      INTRODUCTION
        Appellants Ulysses T. Ware and d/b/a Group Management (a sole proprietorship),

("Appellants"), through undersigned counsel, pursuant to 28 USC§ 1654, respectfully submit this

(A) FRE Rule 20l(c)(2) Request to Take Judicial Notice of Appellees' Dispositive Stipulations

that Resolved All Appellate_Issues, (B) a Memorandum of Law to address Federal Rule of

Evidence 20l(c)(2), (e), which is hereby this 4 th day of April 2025, triggered, (C) Appellants'

Rule 20l(e) Request to be Heard, and (D) Appellants' request for entry of the following reliefs, to

wit:


        (i) that this Honorable Court immediately take FRE Rule 20l(c)(2) mandatory judicial

notice of Appellees' dispositive factual stipulations, judicial admissions, and confessions

contained within the certified record on appeal [JSAR: specifically, 0kt. 19-4, and herein] ; and


        (ii) Appellants hereby notify the District Court that they are exercising their mandatory

legal entitlement and right, and formally request to be heard as authorized by Rule 201(e). 1




1
 Rule 201(e) is not permissive; it states that "[o]n timely request, a party is entitled to be heard .. . ." The
phrase "is entitled" denotes a mandatory requirement. In practice:
    1. No Discretion to Deny: The District Court cannot refuse a timely request to be heard on the
        matter; it must afford the requesting party [Appellants herein] an opportunity to present arguments
        or evidence about the fact in question.

    As set forth in Federal Rule of Evidence 20l(e), "[o]n timely request, [[Appellants are] entitled to be
heard on the propriety of taking judicial notice and the nature of the fact to be noticed." Appellants
respectfully submit that this entitlement is not discretionary but mandatorv.1thus conferring an absolute
substantive procedural safeguard designed to ensure fairness and accuracy in judicial proceedings. By
invoking their right to be heard, Appellants have triggered a legal obligation for the Court to permit their
input on both the propriety of judicial notice and the precise contours of the facts to be so recognized. In
practical terms, this provision obligates the Court to grant Appellants an opportunity to demonstrate that
the proposed facts are indeed not subject to reasonable dispute being stipulated to by the Appellees in the
JSAR or other regulatory filings .

Page 4 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipu lations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 5 of 62




        Appellees' voluntary judicial stipulations, admissions, and confessions are formally

presented in the document docketed as Dkt. 19-4 ("Joint Declaration and Stipulation," hereinafter

"Dkt. 19-4"), and herein (Part 19-20B), which is incorporated within the Joint Stipulated Appellate

Record ("JSAR"), which constitutes accurate, dispositive adjudicative facts not subject to

reasonable dispute. Acknowledgment of these binding judicial stipulations, established through

Appellees' documented failure to contest them as demanded therein, conclusively resolves, in

favor ofAppellants, all dispositive legal and factual issues presented for appellate review in Dkt.

292 ("Statement oflssues," hereinafter "Dkt. 292") [JSAR Dkt. 5-13 on pages 6 to 23]. Requiring

the District Court to enter final judgment on behalf of Appellants immediately.



                                              Part 1.
I. PRELIMINARY STATEMENT
        This 25cv00613 (NDGA) appeal fundamentally challenges the legitimacy and legality of

the 03-93031 Chapter 11 and 02cv2219 (SDNY) proceedings predicated upon the Appellees', their

privies, agents, proxies, surrogates, alter-ego, and all those in active concert therewith, a criminal

illegal association in fact, joint and severally, (the "Appellees"),


        (i) armed and dangerous Hobbs Act, 18 USC §§ 195l(a), 1961(6)(8), and 1962(a-d)

attempted enforcement and collection of predatory criminally usurious, null and void ab initio

debt instruments, GX 1-4, and GX 5, [JSAR Dkt. 5-13 on pages 49-60],


        (ii) by unregistered broker-dealers (Appellees and their privies), [Id. on page 48],




Page 5 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25       Page 6 of 62




            (iii) engaging in a pattern ofHobbs Act predatory loan sharking, extortion, kidnapping,

murder for hire, perjury, armed break-ins, threats of bodily harm, injury, and violence,

bankruptcy fraud conspiracy, conspiracy, securities fraud, and racketeering in violation of the

federal and state racketeering and loan sharking laws , to wit: 18 USC§§ 1951(a), 1961 (6)(B),

and 1962(a-d); and NYS Penal Law, section 190.40, the criminal usury law, a class E felony,

jointly, (the "Predatory Racketeering Loan Sharking Laws"). [Id. on pages 40-60]; and see Ex.

2, infra.


        The 25cv00613 appeal's Rule 8009(d) joint stipulated appellate record ("JSAR") now

before this Court [JSAR Dkt. 5-1 to 5-16; and Dkt. 9] contains stipulations of the Appellees in

Dkt. 19-4, a document styled as a "Joint Declaration and Stipulation" which explicitly sets forth

dispositive and foundational factual predicates establishing the illegality of Appellees' claims, the

preclusive effect of prior judgments, the utter absence of Article III standing, and pervasive ethical

and criminal misconduct by Appellees and their counsel. Crucially, Dkt. 19-4 demanded sworn

opposition from each Appellee by a date certain (March 28, 2025 , 1:00 PM ET), stipulating that

failure to respond would constitute binding judicial admissions, confessions, and consent to the

facts and liabilities stated therein, including a consent sum certain money judgment 0($5.2225

billion. (Dkt. 19-4, pp. 3, 13, 15).


        The appellate record confirms Appellees filed no such opposition. To the present date, the

Appellees have had actual notice of the JSAR and Dkt. 19-4 have not appeared in the District

Court, and have not raised any challenge, opposition, or objection to the joint stipulations, judicial

admi ssions, and confessions submitted to the Court by Appellants- that is, Appellees have, with

the advice of counsel , made a strategic decision and knowingly, deliberate, and intentionally

Page 6 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
      Case 1:25-cv-00613-MLB               Document 41-3            Filed 05/23/25        Page 7 of 62




waived, forfeited, and abandoned any right to deny or disclaim the JSAR or Dkt. 19-4.

Accordingly, the Appellees, the District Court, the Bankruptcy Court, and all other courts

regarding litigation between the parties are bound by the JSAR and Dkt. 19-4. Hoodho v. Holder,

558 F.3d 184, 191 (2d Cir. 2Q09); Adelphia Recovery Trust v. Goldman, Sachs & Co., 748 F.3d

110, 116 (2d Cir. 2014).


        Pursuant to FRE 201(c)(2), Appellants now supply the Court with the necessary

information (the JSAR, and Dkt. 19-4 itself) 2 and requests mandatory judicial notice of the

stipulations contained therein and herein, which, by Appellees' own strategic decision making,

they have defaulted, and the documents ' explicit and express terms have become binding judicial

admissions and stipulations binding on this and all courts. These judicial admissions directly and

conclusively actually and necessarily resolved all appellate issues identified in 03-93031 Dkt. 292,

[JSAR Dkt. 5-13 on pages 6 to 23] 'necessitating immediate entry of(inal iudgment in favor of

Appellants. 3




2
 FRE 201(c) Taking Notice. The court: (1) may take judicial notice on its own; or (2) must take iudiciai
notice ifa party (Appellants herein/ requests it and the court is supplied with the necessary information .
See 0kt. 19-4, the JSAR, (l 7-20A: Part l 7-20A), and this (Part l 7-20B).

3
  Hoodho , Id. ("Admissions by parties {the JSAR and Dkt. 19-4/ are not subject to judicial scrutiny to
ensure that the admissions are fully supported by the underlying record. Cf. Gibbs, 440 F.3d at 578
("Having agreed on a set of facts, the parties [Appellees and their privies herein] who adopted the stipulation
[JSAR and 0kt. 19-4], and this Court, must be bound bv them; we are not free to pick and choose at
will." (internal quotation marks and alteration omitted)). This rule of non-inquiry promotes efficiency and
judicial economy by facilitating the concession of specific issues, thereby "provid[ing] notice to all litigants
of the issues remaining in dispute, identify/ing] those that can be eliminated from the case and those that
cannot be, narrow[ing] the scope of discovery to disputed matters and thus reduc[ing] trial time ." Banks
v. Yokemick, 214 F.Supp.2d 401 , 405-06 (S.D.N.Y.2002)." (emphasis added).

Page 7 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 20l(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
      Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 8 of 62




II. GOVERNING LEGAL STANDARD FOR JUDICIAL NOTICE
        Federal Rule of Evidence 201 governs the judicial notice of adjudicative facts, judicial

admissions, confessions, and stipulations of the parties.


A. Scope of Judicially Noticeable Facts (FRE 20l(b)): A court is authorized to take judicial

notice of a fact provided it is "not subject to reasonable dispute" because it satisfies one of two

conditions: "(l) it is generally known within the trial court' s territorial jurisdiction; or (2) it can

be accurately and readily determined from sources [the JSARJ whose accuracy cannot

reasonably be questioned" by the Appellees or the court. Fed. R. Evid. 20l(b). 4


        Stipulations formally entered into hv parties and incorporated into the official court

record /the JSAR and Dkt. 19-4] fall squarely under FRE 201(b1(2). See American Title Ins.

Co. v. Lace/aw Corp., 861 F.2d 224, 227 (9th Cir. 1988) ("Stipulations freely and voluntarily

entered into in criminal trials are as binding and enforceable as those entered into in civil actions.");

see also Christian Legal Soc. Chapter of the Univ. of Cal., Hastings Coll of Law v. Martinez,

561 U.S. 661 , 676 (2010) (noting the binding effect of stipulations at the trial level). The existence

and content of stipulations within the JSAR are accurately and readily determinable from that

official record itself. 5




4
    Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1278 (11th Cir. 1999) ("The starting point is Fed .R.
Evid. 201, which authorizes courts to take judicial notice under specified circumstances. Subsection (f)
states that "(i)udicial notice may be taken at any stage ofthe proceeding." (emphasis added).

5
  The Appellants' and Appellees' voluntary and consensual Bankr. Rule 8009(d) joint dispositive factual
stipulations incorporated into the Joint Stipulated Appellate Record ("JSAR") and specifically identified in
Dkt. 19-4 constitutes binding factual judicial admissions and stipulations that meet the criteria for
mandatory iudicial notice under Fed . R. Evid. 20l(b)(2). These stipulations, voluntarily entered and
jointly certified by the parties, are adjudicative facts "capable of accurate and ready determination by

Page 8 of 31
Frida~April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
      Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 9 of 62




B. Mandatory Judicial Notice (FRE 201(c)(2)): The Rule mandates judicial notice under specific

circumstances: "The court must take judicial notice if a party [the 25cv00613 Appellants] requests

it and the court is supplied with the necessary information." Fed. R. Evid. 20l(c)(2) (emphasis

added). Appellants hereby request such notice and supply the necessary information by referencing

0kt. 19-4 within the JSAR already before this Court.


C. Timing and Conclusive Effect (FRE 201(d), (f)): Judicial notice is permissible "at any stage

of the proceeding," including appeal. Fed. R. Evid. 201(d). In civil cases, such as this appeal, facts

judicially noticed are deemed conclusive. Fed. R. Evid. 201(f).


D. The Court's Obligation: Mandatory Notice Upon Proper Request: Pursuant to Rule

201(c)(2), the court must take judicial notice if a party requests it and supplies the necessary

information. This is a critical distinction -             zudicial notice becomes obligatory. not

discretionary, when the requesting party [Appellants herein] provides facts [Dkt. 19-4 and JSAR]

meeting the criteria under subsection (b). The court no longer retains discretion in such

circumstances. Rule 20l(c)(2).6




resort to sources whose accuracy cannot reasonably be questioned." See American Title Ins. Co. , Id. at
227 ("Stipulations freely and voluntarily entered into []areas binding and enforceable as those entered into
in civil actions."). Once made part of the appellate record, such stipulations are conclusive, not subiect
to dispute, and estop the parties from asserting contrary positions. See also Christian Legal Soc y v.
Martinez, 561 U.S. 661 , 676 (2010). Under Rule 20l(c)(2), the 25cv00613 District Court is required to
judicially notice these stipulations upon request. Their legal effect is to remove the underlying factual
issues from further litigation, rendering them conclusively resolved for purposes ofthe appeal. (emphasis
added).
6
 21 Charles A. Wright & Kenneth W. Graham, Federal Practice and Procedure§ 5107 (1977) ("[T]hejudge
must notify the parties that [s/]he is taking judicial notice ofan adjudicative fact.") (footnote omitted).


Page 9 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB               Document 41-3          Filed 05/23/25         Page 10 of 62




Ill. THE BINDING STIPULATIONS OF DKT. 19-4
    Dkt. 19-4 sets forth numerous binding, voluntary, factual predicates, judicial admissions,

confessions, and stipulations that Appellees failed to refute under oath by the specified deadline

constitute binding judicial admissions, confessions, and stipulations. Appellees ' documented

failure renders the following facts, detailed across Parts I-V of Dkt. 19-4, judicially admitted,

stipulated, and conclusively established. 7


    Pursuant to FRE Rule 201(c)(2), the District Court "must" take Judicial Notice of the fact that:


    1. Criminal Illegality and Voidness Ab Initio (Dkt. 19-4, Part I, ,r,r 1-10; Part II, ,r,r 1-2):

        The underlying debt instruments (GX 1-4, GX 5) are criminally usurious under N. Y. Penal

        Law § 190.40 (interest exceeding 2,000% p.a.), rendering them null, void ab initio,

        unenforceable, and incapable of conferring any "legally protected interest." Furthermore,

        the contracts are independently void under 15 U.S.C. § 78cc(b) due to Appellees' judicially

        admitted and FINRA-certified status as unregistered broker-dealers. (Dkt. 19-4, pp. 6, 9).

    2. Absolute Preclusion by 2007 Final Judgment (Dkt. 19-4, Part II, ,r,r 5-6): Appellees,

        through counsel (Appellee Zitter), voluntarily procured a final judgment dismissing with

        prejudice all claims related to GX 1-4/GX 5 in 02cv2219 (SDNY) on Dec. 20, 2007, after



7
  See Keller v. United States , 58 F.3d 1194, 1199 n.8 (7th Cir. 1995) ("Judicial admissions are formal
concessions in the pleadings, or sti,J?ulations by a party or its counsel, which are binding upon the party
making them. They may not be controverted at trial or on appeal. Indeed, they are "not evidence at all but
rather have the effect of withdrawing a fact from contention." Michael H. Graham, Federal Practice and
Procedure: Evidence Sec. 6726 (Interim Edition); see also John William Strong, McCormick on Evidence
Sec. 254, at 142 (1992). A judicial admission is conclusive, unless the court allows it to be withdrawn;
ordinary evidentiary admissions, in contrast, may be controverted or explained by the party. Id. When a
party testifying at trial or during a deposition admits a fact which is adverse to his claim or defense, it is
generally preferable to treat that testimony as solely an evidentiary admission. Michael H. Graham, Federal .
Practice and Procedure Sec. 6726, at 536-37."). (emphasis added).

Page 10 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25       Page 11 of 62




        limitations expired. This dismissal constitutes a final adjudication on the merits, absolutely

        barring Appellees and their privies (including KTS) under res judicata from re-litigating

        any claims derived from these instruments. (Dkt. 19-4, p. 9).

    3. Absence of Article III Standing (Dkt. 19-4, Part IV, ,r,r 20-24): Resulting from the ab

        initio voidness (ill) and preclusion (i!2), Appellees lack any concrete, particularized, legally

        protected interest (no injury-in-fact). Any alleged harm was self-inflicted through illegal

        loan sharking and voluntary dismissal (Clapper, 568 U.S. at 416), is not traceable to

        Appellants' lawful conduct, and is impossible for any court to lawfully redress. (Dkt. 19-4,

        p. 12).

    4. Predicate Acts for RICO and Hobbs Act Liability (Dkt. 19-4, Part III, ,r,r 10-19):

        Appellees and their counsel (KTS, UST) engaged in overt acts constituting unlawful debt

        collection (18 U.S.C. § 1961(6)(8)) and attempted Hobbs Act extortion (18 U.S.C. §

        1951(a)) by using judicial processes (e.g. , Dkts. 5-1 to 5-6 in 03-93031) to enforce the

        void/criminal debts. These filings form part of a pattern of racketeering activity and

        conspiracy (18 U.S.C. § 1962(c), (d)). (Dkt. 19-4, pp. 10-11). Appellee Zitter's sworn

        confession to hiring KTS for "collection activity" confirms this intent. (Dkt. 19-4, Part II,

       ,r 9).
    5. Pervasive Ethical Violations (Dkt. 19-4, Part I, ,r,r 4-14): Appellee lawyers (KTS

        partners, Zitter, Rabinowitz, UST attorneys) breached duties of inquiry (Bankr. Rule

        901 l(b)(3)), candor (GA Rule 3.3), honesty (GA Rule 8.4(c)), and avoiding conduct

        prejudicial to the administration of justice (GA Rule 8.4(d)) by knowingly filing frivolous

        claims based on void instruments, making false statements, failing to disclose material facts

        (voidness, unregistered status), and abusing court processes for improper purposes

Page 11 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 12 of 62




         (harassment, collection of void debts, concealing insider trading profits). (Dkt. 19-4, pp. 6-



    6. Deemed Admission oflrreparable Harm and $5.2225 Billion Liability (Dkt. 19-4, Part

         V): As a direct consequence of Appellees' failure to timely oppose 0kt. 19-4, they are

         deemed to have judicially admitted, confessed, stipulated, and consented that their

         unlawful acts caused Appellants irreparable harm quantifiable at $5,222,500,000.00, and

         that each Appellee and their privies are jointly and severally liable for this sum certain

         amount. (0kt. 19-4, p. 13).


IV. RESOLUTION OF ALL APPELLATE ISSUES (DKT. 292)
[JSAR Dkt. 5-13 on pages 6 to 23] BY JUDICIALLY NOTICED
STIPULATIONS (DKT. 19-4).
    The mandatory judicial notice of the binding stipulations within Dkt. 19-4 conclusively

resolves the dispositive issues presented on appeal in Dkt. 292 in favor of Appellants:


    l.   Issue 1 (Lack of Article III Subject Matter Jurisdiction over Predatory Criminal

         Usury Unlawful Debts, GX 1-4, and GX 5): Resolved by Dkt. 19-4, Part I, ii 1. The

         stipulated criminal usury and voidness ab initio under N.Y. Penal Law§ 190.40 confirm

         the subject matter, OX 1-4, and OX 5, was (i) predatory, (ii) inherently null and void ab

         initio, and (iii) unenforceable, uncollectible, and criminal illegal, and therefore stripped the

         03-93031 Bankruptcy Court of jurisdiction to enforce or facilitate the collection of such

         predatory criminal usury claims.

    2.   Issue 2 (Violation of NY Criminal Usury Law): Resolved by Dkt. 19-4, Part I, ,i 1. The

         stipulation explicitly confirms violation of§ 190.40.


Page 12 of 31
Frida~April4,2025
(17-208) (Part 17-208) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 13 of 62




    3.   Issue 3 (Void Ab Initio Status / Violation of Public Policy & Federal Securities Laws):

         Resolved by Dkt. 19-4, Part I, ,r 1 & Part II, ,r 2. Stipulations confirm voidness under N.Y.

         criminal law and independently under 15 U.S.C. § 78cc(b) due to unregistered broker-

         dealer status, establishing violation of public policy and federal securities laws (15 U.S .C.

         §§ 77d, 77e, 77x, 78o(a)(l), 78p(b), 78cc(b), 78ft).

    4.   Issue 4 (Article III Standing of Unregistered Broker-Dealers): Resolved by Dkt. 19-4,

         Part II, ,r 2 & Part IV, ,r,r 20-23 . Stipulations confirm unregistered status, voidness under§

         78cc(b), and explicitly negate all elements of Article III standing (Lujan) . Also see Ex. 3,

         infra.

    5.   Issue 5 (FINRA Certification): Resolved by Dkt. 19-4, Part II, ,r 2. The stipulation

         confirms the FINRA certification of unregistered status. See Ex. Id. , infra.

    6.   Issue 6 (Operation as Illegal Association-in-Fact / CCE): Resolved by 0kt. I 9-4, Part

         III, ,r,r 10, 11, 15, 16 & Part II, ,r 9. Stipulations detailing coordinated filings (UST/KTS

         Dkts. 5-1 to 5-6) aimed at collecting unlawful debt, coupled with Zitter's admission of

         hiring KTS for this purpose, establish the operation of an illegal association-in-fact (18

         U.S.C. § 1961(4)) engaging in a pattern of racketeering (18 U.S.C. §§ 1962(c), (d)).

   7.    Issue 7 (Moot Filings as Aiding/Abetting Unlawful Debt Collection): Resolved by Dkt.

         19-4, Part III, ,r,r 10-15. Stipulations confirm Dkts. 5-1 to 5-6 were predicated on void debts

         and filed to facilitate collection, thus constituting aiding and abetting unlawful debt

         collection (18 U.S.C. § 1961(6)(B)).

    8.   Issue 8 (Aiding/Abetting Hobbs Act/RICO Violations): Resolved by Dkt. 19-4, Part III,

         ,r,r 10-15, 17. Stipulations confirm filings used court process ("color of official right") to


Page 13 of 31
Friday, April 4, 2025
(17-208) (Part 17-208) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3         Filed 05/23/25        Page 14 of 62




          collect void debts, constituting attempted Hobbs Act extortion (§ 195 l(a)) and RICO

          unlawful debt collection(§ 1961(6)(B)). See Ex. Id., infra.

    9.    Issue 9 (Preclusive Effect of SONY Final Judgment/Orders): Resolved by Dkt. 19-4,

          Part II, ,r,r 5-6. Stipulation confirms the 2007 Rule 41(a)(2) dismissal with prejudice,

          establishing absolute res judicata barring Appellees' claims. The stipulation also implicitly

          affirms the preclusive effect of Judge Sand's related orders (e.g. , Dkt. 65 , 02cv2219).

    10. Issue 10 (Appellants as Prevailing Parties): Resolved by Dkt. 19-4, Part II,         ,r,r 5-6. The
          stipulated voluntary dismissal with prejudice legally renders Appellants the prevailing

          parties in 02cv2219 (see L-3 Commc'ns EOTech, 921 F.3d at 18-19), with preclusive effect

          carrymg over.

    11. Issue 11 (Mandatory Turnover oflnsider-Trading Profits): Resolved by Dkt. 19-4, Part


          I, ,r,r 8, Part II, ,r 2, and indirectly by Issue 9's resolution. Stipulated voidness under §

          78cc(b) and preclusion confirm Appellees' lack of rights. Judge Sand's Dkt. 65 order

          (referenced in Dkt. 292, Issue 9 and Issue 11) found Appellees were § 78p(b) statutory

          insiders. The stipulations solidify Appellants' position regarding the estate's entitlement to

          turnover under 11 U.S .C. §§ 541/542.

    12.   Issue 12 (Appellees as Fiduciaries/Equitable Lien/Constructive Trust): Resolved

          implicitly by Issue 11 's resolution regarding § 78p(b) status. § 78p(b) insider status

          inherently creates fiduciary duties regarding short-swing profits, supporting imposition of

          equitable remedies.




Page 14 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
       Case 1:25-cv-00613-MLB                 Document 41-3           Filed 05/23/25        Page 15 of 62




       13 . Issue 13 (Ethical Violations): Resolved by Dkt. 19-4, Part I, ,i,i 4-14 & Part IV, ,i,i 26.

             Stipulations explicitly confirm violations of GA Rules 3.3, 8.4, and Bankr. Rule 9011. 8

       14.   Issue 14 (Aiding/Abetting Contempt): Resolved implicitly by Dkt. 19-4's stipulations

             regarding bad faith litigation (Part I, ,i 8; Part IV, ,i 25), pursuit of precluded claims (Part

             II, ,i,i 5-6), and violation of court process (Part III, ,i,i 10-17). These acts facilitated defiance

             of court authority.

       15 . Issue 15 (Participation in Racketeering): Resolved by Dkt.                19-4, Part III, ,i,i 10-18.

             Stipulations confirm multiple predicate acts (unlawful debt collection, attempted extortion

             via court filings) forming a pattern.9

       16. Issue 16 (Illegal Association-in-Fact/CCE): (Covered by Issue 6).


       17. Issue 17 (Sanctions): Resolved by Dkt. 19-4, Part IV, ,i 26 & Part V. Stipulations confirm


             conduct violating Rule 9011 (b)( 1-4), and warranting sanctions under 28 U.S.C. § 1927 and

             inherent powers, and further established and stipulated, judicially admitted, and confessed

             to dangerous and violent Hobbs Act extortion, fraud, theft, negligence, intentional

             infliction of emotion distress, false arrest, armed aggravated assault and battery, armed

             unlawful entry and break-in, armed predatory unlawful debt collection activities, predatory

             money laundering and loan sharking 18 USC § 1964(c) admission , stipulation, agreement,

             consent, and confession to a consent and voluntary money judgment in the sum certain

             amount of $5.2225 billion joint and several, personal and individual liability.




8
    Also see Ex. 3, infra (FINRA's regulatory ruling).

9 Also
       see Ex. 2, infra, Baker & McKenzie, et al. direct participation in the Hobbs Act predatory unlawful
debt collection activities.

Page 15 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
      Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 16 of 62




                                               Part 2.
I. GOVERNING LEGAL STANDARD FOR JUDICIAL NOTICE
         Federal Rule of Evidence 201 provides the framework for judicial notice of adjudicative

facts. A court is permitted under FRE 201(b)(2) to judicially notice a fact that is "not subject to

reasonable dispute" because it "can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned." Critically, FRE 201(c)(2) imposes a mandatory duty

upon the court: "The court must take judicial notice if a party requests it and the court is supplied

with the necessary information." Fed. R. Evid. 201(c)(2) (emphasis added).


         It is axiomatic that official public records of governmental and quasi-governmental bodies,

including administrative and regulatory agencies, are paradigm examples of sources whose

accuracy, at least as to the existence and content of the records themselves, cannot reasonably be

questioned. Federal courts, including the Eleventh Circuit, routinely take judicial notice of such

materials. See, e.g., Bryant v. Avado Brands, Inc., 187 F.3d 1271 , 1278 (11th Cir. 1999)

(recognizing propriety of noticing relevant public records); Universal Express, Inc. v. U.S. S.E.C. ,

177 F. App'x 52, 53 (11th Cir. 2006) (confirming public records are subject to judicial notice). 10


     This principle explicitly extends to:




10
  "Public records are among the permissible facts that a district court may consider. See Stahl v. U.S.
Dep't of Agric., 327 F.3d 697, 700 (8th Cir. 2003) ("The district court may take judicial notice of public
records and may thus consider them on a motion to dismiss."); cf. Bryant, 187 F.3d at 1278 (11th Cir. 1999)
(holding that "a court, when considering a motion to dismiss in a securities fraud case, may take judicial
notice ... of relevant public documents required to be filed with the SEC'). (emphasis added).

Page 16 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
      Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25         Page 17 of 62




     1.   SEC Filings: Courts universally recognize the propriety of taking judicial notice of

          documents filed with the SEC and available on EDGAR. 11 Kramer v. Time Warner Inc. ,

          937 F.2d 767, 774 (2d Cir. 1991) (documents filed with SEC are judicially noticeable); In

          re Morgan Stanley Info. Fund Sec. Litig., 592 F.3d 347, 355 n.5 (2d Cir. 2010); Makro

          Capital of Am., Inc. v. UBS AG, 372 F. Supp. 2d 623 , 627 (S.D. Fla. 2005). 12

          Administrative and SRO Records: Official records and rulings from state administrative

          bodies (like a State Bar acting under judicial authority) and Self-Regulatory Organizations

          ("SROs") like FINRA are judicially noticeable. Gent v. CUNA Mut. Ins. Soc'y, 611 F.3d

          79, 84 n.5 (1st Cir. 2010) (noticing public records including from administrative agencies);

          In re Colonial Ltd. P'ship Litig., 854 F. Supp. 64, 79 (D. Conn. 1994) (noticing SRO

          records); Gustavia Home, LLC v. Rice, 724 F. App'x 87, 88 n.l (2d Cir. 2018) (summary

          order) (noticing materials from regulatory body website).


     Appellants, having identified the specific exhibits within the JSAR, hereby supply the

"necessary information," compelling judicial notice under FRE 201 (c)(2).


II. APPLICATION OF LEGAL STANDARD TO REQUESTED
EXHIBITS.
          Pursuant to FRE 20 I (b )(2) and 20 I (c)(2), judicial notice is mandatory for the following:


11
   When the underlying facts come from an official government website [the SEC ' s EDGAR official
website for public filings], courts have frequently found that such facts meet the "not subject to reasonable
dispute" threshold. Denius v. Dunlap, 330 F.3d 919, 926-27 (7th Cir. 2003) ("[W]e may take judicial notice
of information provided on an official government website."). (emphasis added).

12
  Cf., Ex. 2, infra, (Baker &McKenzie, et al.'s Hobbs Act Form SB-2 filed with the SEC to enable the
collection of the predatory criminal usury unlawful debts, GX 1-4: a binding judicial admission of violations
of 18 USC § 195l(a), 1961(6)(B), 1962(a-d), and 1964(c)).


Page 17 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25       Page 18 of 62




A. Exhibit 1: State Bar of Georgia Official Record (JSAR Dkt. 5-13, pp. 40-41)

    1. Identification: Exhibit I consists of documents Appellants identify as originating from the

        official records of the State Bar of Georgia, specifically pertaining to an affidavit

        concerning personal service in a related disciplinary proceeding involving Appellant Ware.

    2. Justification for Notice: Official records maintained by a State Bar, acting as an arm of

        the state judiciary or pursuant to delegated governmental authority, constitute public or

        quasi-public records whose existence and textual content are accurately and readily

        determinable. See Rosales-Martinez v. Palmer, 753 F.3d 890, 894 (9th Cir. 2014)

        (permitting judicial notice of undisputed matters of public record, including administrative

        records). The fact that such a fake, fraudulent, and counterfeit purported affidavit exists

        within the Bar's and the Supreme Court of Georgia's official In re Ware (2008) (moot, void

        ab initio, fabricated, malicious, and retaliatory Hobbs Act unlawful debt collection related

        disbarment proceedings) records, and its precise wording, are not subject to reasonable

        dispute.

    3. Adjudicative Signifi°cance: Appellants contend this document is demonstrative of

        improper criminal misconduct and overt and predicate acts (e.g., related to Hobbs Act

        violations or obstruction) by entities involved in broader loan sharking and unlawful debt

        collection activities disputes affecting Appellees. Judicial notice of the document's

        existence and content allows the Court to consider it as part of the factual matrix underlying

        Appellants ' claims of systemic misconduct and bad faith relevant to the proceedings on

        appeal.




Page 18 of 31
Frida~April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 19 of 62




    4. Mandatory Notice: As an official regulatory record whose existence and content are

        verifiable, and upon Appellants' request with reference to the JSAR, judicial notice is

        mandated by FRE 201(c)(2).


B. Exhibit 2: SEC EDGAR Governmental Website Public Filing (Form SB-2)

    1. Identification: Exhibit 2 is identified as a Hobbs Act predatory criminal usury unlawful

        debt collection device, the risible Form SB-2 registration statement, publicly filed and

        accessible via the SEC's public EDGAR system, an official governmental website, which

        Appellants associate with Appellees law firm Baker & McKenzie, LLP, Lawrence B.

        Mandala, (see JSAR Dkt. 5-16 on pages 41-49 (F-8)) (Declaration of Lawrence B.

        Mandala, Esq.)).

    2. Justification for Notice: Documents filed with the SEC and publicly available on the

        EDGAR database are the quintessential example of records suitable for judicial notice

        under FRE 201(b)(2). Their status as official public filings is indisputable. Kramer, 937

        F.2d at 774; Rothman v. Gregor, 220 F.3d 81, 92 (2d Cir. 2000). The existence of the filing

        and its precise textual content are readily verifiable facts.

    3. Adjudicative Significance: Appellants argue this filing 1s documentary evidence

        supporting allegations of Hobbs Act predatory loan sharking, unlawful debt collection,

        criminal misconduct (18 USC§§ 195l(a), 1961(6)(B), 1962(a-d), and 1964(c)) related to

        the enforcement or facilitation of the collection of predatory criminal usury claims based

        on the underlying predatory criminal usury null and void ab initio debt instruments (GX 1-

        4, GX 5).




Page 19 of 31
Frida¼April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 20l{c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 20 of 62




    4. Mandatory Notice: As a verifiable public SEC filing [Ex. 2, infra, Baker' s risible Form

        SB-2] identified within the record, judicial notice is mandated by FRE 201 (c)(2).


C. Exhibit 3: FINRA Regulatory Determination (JSAR Dkt. 5-13, p. 48)

    I. Identification: Exhibit 3 contains or references, according to Appellants' designation, a

        formal regulatory determination or certification issued by FINRA on May 17, 2021,

        establishing the status of certain Appellees (clients of KTS) as "unregistered broker-

        dealers ."

    2. Justification for Notice: FINRA, as an SEC-registered SRO, issues official rulings and

        maintains records pursuant to its regulatory mandate. Such formal determinations

        constitute administrative or regulatory findings whose existence and content, as official

        pronouncements of the regulatory body, are readily ascertainable and not subject to

        reasonable dispute. See In re Colonial Ltd. P'ship Litig., 854 F. Supp. at 79.

    3. Adjudicative Significance: The regulatory status of these Appellees (Appellee KTS '

        clients, JSAR Dkt. 5-2) as unregistered broker-dealers is a fact of central, dispositive

        importance to this appeal. It directly triggers the voidness provisions of 15 U.S.C. § 78cc(b)

        with respect to the underlying predatory criminal usury unlawful debt instruments, (GX 1-

        4, GX 5), thereby eviscerating any potential "legally protected interest" required for Article

        III standing and rendering Appellees' claims unenforceable, uncollectible, and void ab

        initio as a matter of federal securities law. Judicial notice of FINRA 's determination

        conclusively establishes this critical predicate fact.




Page 20 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 21 of 62




    4. Mandatory Notice: As an official determination from a recognized SRO, whose existence

        and content are verifiable and identified within the JSAR, judicial notice is mandated by

        PRE 201 (c)(2).


III. SUMMARY
    The documents designated as Exhibits 1, 2, and 3 comprise official records from the State Bar

of Georgia, the SEC's EDGAR system, and FINRA, respectively. Each constitutes a source whose

accuracy, regarding the existence and content of the record or determination itself, cannot

reasonably be questioned. Appellants have requested judicial notice and supplied the necessary

information by referencing these exhibits within the Joint Stipulated Appellate Record (Part 17-

20B), herein. Pursuant to the unambiguous command of Federal Rule of Evidence 201 (c)(2), this

Court must take judicial notice of:


    1. The existence and textual content of the State Bar of Georgia record identified as Exhibit

        1 (JSAR Dkt. 5-13 , pp. 40-41);

    2. The existence and textual content of the SEC Form SB-2 filing identified as Exhibit 2, as

        publicly available on EDGAR; and

    3. The existence and substance of the FINRA regulatory determination dated May 17, 2021 ,

        regarding the unregistered broker-dealer status of certain Appellees, identified as Exhibit

        3 (JSAR Dkt. 5-13 , p. 48).


    Taking judicial notice of these adjudicative facts is essential for the Court's proper

consideration of the dispositive issues of standing, voidness, enforceability, and related criminal

and civil misconduct central to the resolution of this appeal, Case No. 25-cv-00613-MLB.


Page 21 of 31
Frida~ApriI4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 22 of 62




                                                Part 3.
        The Joint Stipulated Appellate Record contains, at Dkt. 19-4, stipulations and deemed

judicial admissions that are binding upon Appellees and conclusively resolve every dispositive

issue presented for review in Dkt. 292 entirely in favor of Appellants. Appellees, having failed to

contest the factual predicates set forth in Dkt. 19-4 as demanded therein, are judicially estopped

and bound by their admissions establishing the underlying claims' criminal voidness, the

preclusion of those claims, the complete absence of Article III standing, the commission of RICO

and Hobbs Act violations, pervasive ethical misconduct, and joint and several liability for $5.2225

billion in damages.


        WHEREFORE, Appellants respectfully request that this Court take mandatory judicial

notice, pursuant to Federal Rule of Evidence 201(c)(2), of the enumerated factual stipulations and

deemed judicial admissions contained within Docket Entry 19-4 of the Joint Stipulated Appellate

Record, accept these facts as conclusive and dispositive to all issues presented in JSAR Dkt. 5-13

on pages 6 to 23 , pursuant to FRE 201 (f), grant Appellants the relief sought in this appeal based

upon the resolution of the issues presented in Dkt. 292 [JSAR, Id.] , and set this matter down for

the mandatory Rule 201 (e) entitlement proceeding to permit Appellants to be heard on the

judicially noted stipulations.


Respectfully submitted this 4th day of April 2025 to the Chambers of the Hon. District Judge
Michael L. Brown and the Office of the District Clerk (NOGA) pursuant to 28 USC§ 1654 and
18 USC§§ 2071 (a), (b).

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226



Page 22 of 31
Friday, April 4, 2025
(17-208) (Part 17-208) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipu lations.
     Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 23 of 62




(718) 844-1260
utware007@gmail.com

By: /s/ Ulysses T. Ware
Ulysses, Attorney in Fact for Appellants
Group Management and Ulysses T. Ware




Page 23 of 31
Friday, April 4, 2025
(17-20B} (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c}(2} Judicial Notice of Appellees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3           Filed 05/23/25       Page 24 of 62




FRE 20l(c)(2) Regulatory, Accurate, and Irrefutable Sources-
Necessary Information to take judicial notice of Regulatory Facts.




Page 24 of 31
Frida~ApriI4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 25 of 62




1.     Exhibit 1 [JSAR Dkt. 5-13 pages 40-41] (stipulated) (Coordinated criminal
usury unlawful debt collection activity)-State Bar of Georgia's (Regulatory)
Fabricated and Counterfeit purported Affidavit ofPersonal Service-Hobbs Act overt
and predicate acts, Jim Crow racially-motivated, retaliatory, malicious conspiracy to
extort and steal the personal and business property of Appellant Ulysses T. Ware, his
license to practice law.




Page 25 of 31
Frida~April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB                      Document 41-3                 Filed 05/23/25              Page 26 of 62




                case 1:25-cv-00613-MLB             Document 5-13         Filed 03/07/25       Page 40 of 270




             Exhibit A- SBGA's known false1 fraudulent, counterfeit, and fabricated
             alleged January 15, 2007 .. Affidavit of Personal Service (perjury) on
             Ulysses     r.
                          Ware, Esq. at the Bur~au -o f Prison's Brooklyn, NY MDC
             federal prison- the BOP has confinned that Mr. Warewqs
             ma p.ersonally served on January 15i 2007, at the MDC Brooklyn, NY
             prison because according to the BOP" . . , Mr. Ware was not incarcerated
             and wqs not in the custody of the Bureau of Prison on Janu~ 15
             2007, ~nvwhere '!the             United
                                                States"·•· qnd penqtnly not ill,Bro.p/tlvn.
             WY ,•• thqt ·ls d fa, .... " ( emphasis in original).




             Page 17 of 1.62
             Tuesday, February 18, 202S
             (13-6) (Part 15-6) re: The Parties' Joint Stipulated Bankr. Rule 8009(iil/8009(d,) Appellate !=actual
             Jurisdictional and Sanctions Record on Appeal, 25cv006U (NDGA) (Brown, J.).




Page 26 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicia l Notice of Appellees'
Disposit ive Stipulations.
     Case 1:25-cv-00613-MLB                     Document 41-3                         Filed 05/23/25                                 Page 27 of 62




                 Case l:25-cv-00613-MLB            Document 5-13            Flied 03/07/25                               Page 41 of 270




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             Page 18 of 162
             Tuesday, February 18, 2025
             (13-6) (Part 15-6) re: The Parties' Joint Stipulated Bankr. Rule 8009{g)/8009(d) Appellate Factual
             JurlsdJctlonal and Sanction~ Record 911 Appeal, 25cv00613 (ND(;A) (Brown,.J.).




Page 27 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipu lations.
     Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 28 of 62




2.     Exhibit 2 (see Attachment) [SEC's Edgar Regulatory Public Records System]
Appellant Baker & McKenzie, LLP, et al. 13 accurate and reliable Hobbs Act Criminal
Form SB-2 to extort Appellant Group Management out of +39 million (+$522 million)
free-trading equity securities, to aid, abet, and facilitate the collection of GX 1-4, and
GX 5, predatory criminal usury unlawful debts.




13
  Lawrence B. Mandala, Esq., Robert H. Albaral, Esq., David J. Malliband, Esq., and Thomas A. Leghorn,
Esq. aiding, abetting, enabling, and facilitating multiple instances of Hobbs Act 18 USC § 1961(6)(B)
predatory criminal usury extortionate unlawful debt (GX 1-4, and GX 5) collection activities.

Page 28 of 31
Friday, April 4, 2025
(17-208) (Part 17-208) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 29 of 62




3.     Exhibit 3 [JSAR Dkt. 5-13 on page 48] (stipulated) FINRA's May 17, 2021,
accurate and reliable, irrefutable regulatory ruling of unregistered broker-dealer
status for each of Appellee KTS' clients that appeared in 03-93031 Chapter 11, [JSAR
Dkt. 5-2, April 10, 2003], which KTS knowingly in bad faith, and recklessly
suppressed and concealed, without disclosing to the Court, the UST, the Debtor, and
other creditors their clients' unregistered broker-dealer status in violation of the
District Court (NOGA) Rules on Professional Conduct Rules 3.3 and 8.4.




Page 29 of 31
Frida~April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appel lees'
Dispositive Stipulations.
    Case 1:25-cv-00613-MLB                                  Document 41-3                      Filed 05/23/25                Page 30 of 62




                 Case 1:25-cv-00613-MLB                      Document 5~13               Filed 03/07/25              Page 48 of 270




             Exhibit 3-FINRA's May 17!,. 2021i , binding regulatory factual
             finding of unregistered broker-dealer status for KTS' clients who
             fraudulently appeared in the 03-93031 Chapter 11, see Dkt. 11, 15,
             and 16 via KTS' lawy~rs,DenfliS S. 'Meir and John W. Mills, officers,
             oJ the court, putsuant to and in violation of 18 USC§§ 2., 152, 157,
             371, 195l(a)? 1956-57, 1961(6)(B), and 1962(a-d)-:a pattern of
             r.acketeering activities.

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                                 ttlE Flt111no1al lnd\11it,(y Regulalo!Y AUlhorify, Inc. (' FIN!,A'), I am ram111a_r Wltli
                                 and am a·ctU1todlll111of flNRA bus)ni;s,' cy,cortfs, Including interpretations,
                                 policles and rules adopted by toe.Fl NRA ~,'(I of Oovem~

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                                 ma\nt&if!ll4 lo the Qrd!nery course of flN~'s bll'Siness:

                                       a) Alpha .Capital, AG
                                       b) Stone,veet, l ,fi.
                                       c) Markham Holdings, Lid.
                                       dj Amro tt'IW/itltionat, S:A.
                                       e) LH F;nancial Serv'ices




             Page 2S of 162
             Tuesday, Febru;n:y 18, 2025
             (13-6) (Part 15-6) re: The Parties' Jo1nt Stipulated B\!nkr. Rule 8009(g}/8009(d} Appellate Factual
             Jurisdictional and Sanctions Record on Appeal, 25cv00613 (NDGA) (Brown, J.),




Page 30 of 31
Friday, April 4, 2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
     Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 31 of 62




                             CERTIFICATE OF SERVICE
I hereby certify that on this 4th day of April, 2025, I electronically filed the foregoing (17-20B

(Part 17-20B) Supplement # 1.0 re: APPELLANTS' MEMORANDUM OF LAW REGARDING

MANDATORY JUDICIAL NOTICE PURSUANT TO FEDERAL RULE OF EVIDENCE

20l(c)(2) with the Chambers of the Hon. Michael L. Brown, and Clerk of the District Court

(NDGA) using the U.S. mail; and served all Appellees and their legal counsel counsels via public

email addresses.




                                    End of document




Page 31 of 31
Frida~April4,2025
(17-20B) (Part 17-20B) re Supplement 1.0 to Part 17- 20A re FRE 201(c)(2) Judicial Notice of Appellees'
Dispositive Stipulations.
                         Case 1:25-cv-00613-MLB                                 Document 41-3                    Filed 05/23/25                   Page 32 of 62




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  <DOCUMENT >
  <TYPE>SB-2/A
  <S EQUENCE >l
  <FILENAME>ivg_sb2al-101001.txt
  <TEXT >                             Baker & McKenzie, LLP, et al., Hobbs Act Form SB-2 reg istration statement to
  <PAGE >                             facilitate criminal usury unlawful debt collection activities
              As filed with the Securities and Exc hange Commission on October 10, 2001




                                              UNITED STATES
                                                                                REGISTRATION NO. 333-60056
                                                                                                                          Appx 8-1
                                   SECURITIES AND EXCHANGE COMMISSION
                                         WASHINGTON , D. C. 20549


                                                  AMENDMENT NO. 1
                                                          TO
                                                                                                                          Exhibit 2
                                                  FORM SB-2
                                           REGISTRATION STATEMENT
                                                                                                      Case No. 25cv00613 NOGA)
                                                    UNDER
                                         THE SECURITIES ACT OF 1933

                                                      IVG CORP.

                          (NAME OF SMALL BUSINESS ISSUER IN ITS CHARTER)

                   Delaware                                        6770                         XX-XXXXXXX
  (STATE OR OTHER JURISDICTION OF                 (PRIMARY STANDARD INDUSTRIAL               (IRS EMPLOYER
  INCORPORATION OR ORGANIZATION)                   CLASSIFICATION CODE NUMBER)               IDENTIFICATION
                                                                                                 NUMBER)

                                           IVG Corp.
                                13135 Dairy Ashfo rd , Suite 525
                                    Sugar Land, Texas 77478
                                        (281) 295-8400
             (ADDRESS , INCLUDING ZIP CODE, AND TELEPHONE NUMBER , INCLUDING AREA
                      CODE, OF REGISTRANT'S PRINCIPAL EXECUTIVE OFFICES)


                                             Elorian Lander s
                                                 IVG Corp.
                                      13135 Dairy Ashford, Suite 525
                                          Sugar Land, Texas 77478
                                              (281) 295-8400
https :/lwww.sec.gov/Archives/edgar/data/82667 4/000101968701500938/ivg_sb2a 1-101001 .bct                                                                        1/101
                        Case 1:25-cv-00613-MLB                                Document 41-3                        Filed 05/23/25                  Page 33 of 62




5/1/22, 8:43 AM                                                  https://www.sec.gov/ Archives/edgar/data/826674/0001019687015009 38/ivg_ sb2a 1-101001 .txt

              (NAME, ADDRESS, INCLUDING ZIP CODE, AND TELEPHONE NUMBER OF AGENT
                                  FOR SERVICE OF PROCESS)

                                                     Copy to:
                                             Lawrence a. Mandala-
                                              Baker & McKenzie
                                          2300"lr'ainmell Crow Center
                                              2001 Ross Avenue
                                             Dallas, Texas 75201
                                                 (214) 978-3000


  APPROXIMATE DATE OF COMMENCEMENT OF PROPOSED SALE TO THE PUBLIC: From time to
  time after the date this registration statement becomes effective.
  If this Form is filed to register additional securities for an offering pursuant
  to Rule 462(b) under the Securities Act, please check the following box and list
  the Securities Act registration statement number of the earlier effective
  registration statement for the same offering. [ ]
  If this Form is a post-effective amendment filed pursuant to Rule 462(c) under
  the Securities Act, check the following box and list the Securities Act
  registration statement number of the earlier effective registration statement
  for the same offering . [ ]
  If this Form is a post-effective amendment filed pursuant to Rule 462(d) under
  the Securities Act , check the following box and list the Securities Act
  registration statement number of the earlier effective registration statement
  for the same offering . [ ]
  If delivery of the prospectus is expected to be made pursuant to Rule 434,
  please check the following box. [ ]

  <PAGE>
  <TABLE >

                                                               CALCULATION OF REGISTRATION FEE
  <CAPTION>

                                                                             AMOUNT TO               PROPOSED MAXIMUM                    PROPOSED MAXIMUM        AMOUNT OF
                                                                                 BE                 OFFERING PRICE PER                  AGGREGATE OFFERING     REGISTRATION
  TITLE OF EACH CLASS OF SECURITIES TO BE REGISTERED                         REGISTERED                  SHARE(l)                            PRICE(l)             FEE(l)
  <5>                                                                      <C>                               <C>                        <C>                        <C>
  Common Stock, par value $0.0001 per share,
  issuable upon conversion of Converti ble Notes                           38,630, 378(2)                    $0 .055                    $     2,124,671            $ 531
  Common Stock, par value $0.0001 per share,
  issuable upon exercise of Warrants(3)                                         275 ,000(3)                 $1. 647                     $        452,925           $ 113

  Common Stock, par value $0.0001 per share,
  issuable upon exercise of Warrant(4)                                           50,000(4)                  $1. 647                     $         82,350           $     21

https://www.sec.gov/Archives/edgar/data/826674/000101968701500938/ivg_sb2a 1-101001 ,bet                                                                                      2/101
                        Case 1:25-cv-00613-MLB                               Document 41-3                      Filed 05/23/25                   Page 34 of 62




5/1/22, 8:43 AM                                                 https://www.sec.gov/Archives/edgar/data/826674/00010 1968701500938/ivg_sb2a 1-101001 .txt

  Common Stock, par val ue $0.0001 per sha re                                  278,042(5)                  $0 .055                    $         15,292           $   4

  Total                                                                                                                               $     2,675,238            $ 669(6)
  </TABLE >

  (1 ) Estimated solely for the purpose of calculating the registration fee in
       accordance with Rule 457(c) of the Securities Act of 1933, as amended, based
       on the average of the closing bid and asked price for our common stock as
       report ed on the OTC Bulletin Board on October 5, 2001.
  (2) Represent s 200% of the shares of our common stock issuable upon conversion
       of converti ble notes issued by us. The notes may be converted into shares of
       our common stock at a conversion price eq ual to the lower of (a) $1 . 5825 and
       (b) 85% of the ave rage of the t hree lowest closing bid prices for our common
       stock on the pri ncipal market on which it is trading for the 22 trading days
       prior to but not including the date of conversion. For purposes of
       estimating the number of shares of our common stock iss uable upon conversion
       of the notes, we calculated t he number of shares to be iss ued based upon a
       conversion price of $0 . 05695 , the convers ion price that would have been i n
       effect if the notes were converted on Octobe r 8, 2001 . The notes are payable
       on January 1, 2003.
  (3) Represents shares of our common stock iss uable upon exercise of warrants
       issued to holders of the convertible notes . The warrants have an exe rc ise
       price of $1.647 and may be exercised until February 2, 2006.
  (4) Represent s shares of our common stock issuable upon exercise of a warrant
       is sued to Un ion Atlantic Capital, L.C. as partial consideration for serving
       as our financial advisor and private placement agent in connection wit h the
       issuance of the convertible notes. The warrant has an exe rcis e price of
       $1.647 and may be exercised until April 30, 2005.
  (5) Represe nts shares of our common stock issuable to the purchasers of the
       convertible notes if the closing bid price of our common stock i s not equal
       to or greater tha n $2 . 374 for 10 cons ecutive trading days during t he 180 day
       period commencing on the effective date of thi s registration s tatement .
  (6) Previously paid.

  THE REGISTRANT HEREBY AMENDS THIS REGISTRATION STATEMENT ON SUCH DATE OR DATES
  AS MAY BE NECESSARY TO DELAY ITS EFFECTIVE DATE UNTIL THE REGISTRANT SHALL FILE
  A FURTHER AMENDMENT WHICH SPECIFICALLY STATES THAT THIS REGISTRATION STATEMENT
  SHALL THEREAFTER BECOME EFFECTIVE IN ACCORDANCE WITH SECTION 8(A) OF THE
  SECURITIES ACT OF 1933 OR UNTIL THE REGISTRATION STATEMENT SHALL BECOME
  EFFECTIVE ON SUCH DATE AS THE COMMISSION, ACTING PURSUANT TO SAID SECTION B(A),
  MAY DETERMINE.

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                           SUBJECT TO COMPLETION, DATED OCTOBER 10, 2001

  PROSPECTUS

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                         Case 1:25-cv-00613-MLB                                Document 41-3                       Filed 05/23/25                   Page 35 of 62




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                        b                             IVG CORP.

                                    TO 39,233,420 SHARES OF COMMON STOCK\
  This offering relates to the resale of an aggregate of 39,233,420 shares of our
  common stock by persons who are referred to in this prospectus as selling
  securityholders. The shares offered by this prospectus include shares issuable
  by us in the future if:

                            convertible notes held by some of the selling securityholders
                            are converted into shares of our common stock;

                  o         warrants held by the selling securityholders are exercised; or

                  o         we are required to issue additional shares of our common stock
                            to some of the selling securityholders under our agreement
                            with them.

  We will not receive any proceeds from the resale of these shares by the selling
  securityholders. However, we could receive proceeds of up to $82,350 upon
  exercise by Union Atlantic Capital, L.C, one of toe selling securityholders, of
  warrants held by it.

  The selling securityholders may sell the shares of common stock from time to
  time in public or private transactions occurring on or off the OTC Bulletin
  Board, in negotiated transactions or otherwise.

  Our common stock is quoted on the OTC Bulleti n Board under the trading symbol
  "IVGG ." On October 5, 2001, the average of the closing bid and asked price of
  our common stock was $0.055.

  INVESTING IN OUR SECURITIES INVOLVES RISKS . YOU SHOULD PURCHASE OUR SECURITIES
  ONLY IF YOU CAN AFFORD A COMPLETE LOSS OF YOUR INVESTMENT. SEE "RISK FACTORS"
  BEGINNING ON PAGE 3.

  NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE SECURITIES
  COMMISSION HAS APPROVED OR DISAPPROVED OF THESE SECURITIES OR DETERMINED IF THIS
  PROSPECTUS IS TRUTHFUL OR COMPLETE. ANY REPRESENTATION TO THE CONTRARY IS A
  CRIMINAL OFFENSE .

                       THE DATE OF THIS PROSPECTUS IS _ _ _ _ _ , 2001.




  The information in this prospectus is not complete and may be changed . We may
  not sell these securities until the registration statement filed with the
  Securities and Exchange Commission is effective. This prospectus is not an offer
  to sell these securities and we are not soliciting an offer to buy these
https:llwww.sec.gov/Archives/edgarldata/8266741000101968701500938/ivg_sb2a 1-101001 .t>ct                                                                           41101
                         Case 1:25-cv-00613-MLB                                Document 41-3                     Filed 05/23/25                   Page 36 of 62




5/1/22. 8:43 AM                                                  https://www.sec.gov/Archives/edgar/data/826674/0001019687015009 38/ivg_sb2a 1-101001. txt

  securities in any state where the offer or sale is not permitted.

  <PAGE >
  <TABLE>
                                                                  TABLE OF CONTENTS
  <CAPTION >

  <5>                                                                     <C>                 <C>                                                                  <C>
  SUMMARY ... . .•.... •. .... . ... ..... .. ... .... .. .. .. .. ... .... 1                 Market Price Information . . ..•... . . ....... . ..... . . .... . . 15
  The Company ............... . ................ .. ....... .... 1                            Dividends . .. • ... .• ... ...... . • . . ........ ... . ............ 15
  Risk Factors .......................... .. ... ....... .. .... 1                            MANAGEMENT .. . . .. .. . ... .... .... .. ....... ... ... ... .. . .. .. 16
  The Offering . ................... ........... . .. .......... 1                            Directors an d Exe cutive Officers .... . .... .. ..... . ...... 16

  Share s of Common Stock Outs tanding: ... . ... . ............. 2                           EXECUTIVE COMPENSATION .... . . .. . ... ............ . .. ...... 16
  How to Contact Us . . ... . .... ..... .. .. .. ... .. ... .. ........ 2                    Summary Compensation Tabl e .. . .... ... ... ... ..... .... .... 16
  Summary Financial Data ......... . .... ... .. . . .. ... ..... ... 2                       Employment Agreements . . . ...... . ... .... .... .... ... ... . .. 17
  RISK FACTORS ......... .. ... .. . .... ... .. .. .. .. ............ 3                      2000 Omn i bus Securities Plan ......................... . . 17

  Risks Associated With Our Business .. .. .. ... . .•. .. .. ..... 3                         Option Grants . ............ ... ... •...... ....... .. .. . ... . 17
  Risks Associated With Investing in Our Securities . ...... 4                                Option Exercises and Option Values ... . ... . .. ........... 18
  SAFE HARBOR FOR FORWARD-LOOKING STATEMENTS ........... . .. 6                               Compens ation of Directors . .. .. .... .. ... ...... . . .. ... . . . 18
  USE OF PROCEEDS . . ....... . .. . . ...... ...... .. . .... . .. .. . . . 6               SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND
                                                                                               MANAGEMENT .. . .. .. . . . .. ...... ... .. . ... . .. . ..... .. ..... 18
  MANAGEMENT•s DISCUSSION AND ANALYSIS OF FINANCIAL
    CONDITION AND RESULTS OF OPERATIONS .... . ..........•... 6                               CE RTAIN RELATIONSHIPS AND RELATED TRANSACTIONS .. . ..... . 19
  Results of Operations ................................. . . 7                               INDEMNIFICATION . ... .. .. ... . ..... .. .. .. ...... ... ... . . . .. 20
  Comparison of the Six Months Ended June 30, 2001                                            FINANCING AGREEMENTS . .. . ..... .. ............ . ........... 21
   and June 30, 2000 ...... ... .......... . ... .. .. .. .. .. .... . 7
                                                                                             Overview .. .... ........ . ... .. .... ....... .... .... .... .. .. 21
  Comparison of the Years Ended Decembe r 31, 2000
   and December 31, 1999 ... ... . . .... ... ........ .. .. ... .... 8                      Convertible Notes ...... .. . ...... ... . ••. ............. .• . 21

  Comparison of the Ye ars Ended December 31, 1999                                           Registration Rights ... ...... ..... . . . . . .............. . .. 23
    and December 31, 1998 ... .............. . . .. . .... .. ..... 8
                                                                                             Security Agreement .. . ..................... . ............ 24
  Liquidity and Capital Re sources ............. .. ... .. ..... 8
                                                                                             Warrants for I nvestors • ..... . ... .... ............. ...... 24
  Going Concern Consideration . . . ... .. . .. ........ ....... ... 9
https://www.sec.gov/Archives/edgar/data/826674/00010196870 1500938/ivg_sb2a 1-1O1001.txt                                                                                     5/101
                        Case 1:25-cv-00613-MLB                               Document 41-3                      Filed 05/23/25                  Page 37 of 62




5/1/22, 8:43 AM                                                 https://www.sec.gov/Archives/edgar/data/826674/000101968701500938/ivg_sb2a 1-101001. txt

                                                                                             Warrant for Union Atlantic ..... .... . ... .... . ........... 24
  BUSINESS ....................... .. . .. . .................. 10
                                                                                             DESCRIPTION OF SECURITIES TO BE REGISTERED ... .... ... . .. 25
  Overview ............... . ................... . ..... ...... 10
                                                                                             Common Stock . . .. . ... . .......... .. ... ....... .. .... ...... 25
  Portfolio Companies . ... . .. . .. ... ... .. .............. . .. . 10
                                                                                            SELLING SECURITYHOLDERS .... ....... ..... ....... . ........ 25
  Busi ness Strategy ................. .. .. . ..... .. .. .. . .... 12
                                                                                             PLAN OF DISTRIBUTION .... . . . . .... ..... • . •.•.•. ......... . 26
  Evaluation of Potential Acquis itions ... ................ 13
                                                                                             LEGAL MATTERS ..... .. . .. . .. .. .. . . . . .. ... ... .... . ........ 27
  Competition . . .. .. .. .. .. .. . . ........... .. ... •...••.•.... 13
                                                                                            EXPERTS . . .......... .. .........•......... . ............. 27
  Intellectual Property .. ......... .. . . .. .. ..... ........ .. 14
                                                                                            WHERE YOU CAN FIND MORE INFORMATION .. ........ . . ... .. ... 27
  Properties ...... ........................... . . ... .. ... . . 15
                                                                                            INDEX TO FINANCIAL STATEMENTS ......... ..... ..... ..... . F- 1
  Lega l Proceedings ... . .... . . ... . ... .... . ..... .. ...... ... 15

  Employees .... ................ .. .......... . .... . ... .. .. . 15



  </TABLE>

  <PAGE>

                                                     SUMMARY
  THIS SUf,V,1ARY HIGHLIGHTS INFORMATION CONTAINED ELSEWHERE IN THIS PROSPECTUS . WE
  URGE YOU TO READ THIS ENTIRE PROSPECTUS CAREFULLY, INCLUDING THE "RISK FACTORS"
  SECTION AND THE CONSOLIDATED FINANCIAL STATEMENTS AND RELATED NOTES INCLUDED
  ELSEWHERE IN THIS PROSPECTUS. AS USED IN THIS PROSPECTUS , THE WORDS "WE," "US ,"
  "OUR" AND "THE COMPANY" REFER TO IVG CORP.; OUR SUBSIDIARIES., SWAN MAGNETICS,
  INC. AND CYBERCOUPONS.COM, INC.; AND OUR DIVISION, GEEWHIZUSA . COM.

  THE COMPANY

  We are a holding company that intends to acquire promising revenue-generating
  companies and assist them by providing financial guidance, business model
  cr eation and implementation, access to equity resources and technology. To date,
  our portfoli o companies consist of the following :

              o           Our division, GeeWhizUSA.com , a manufacturer and distributor
                          of proprietary novelty, gift and branded products that light
                          up.

              o           Swan Magnetic s, Inc., developer of a proprietary ultra-high
                          capacity floppy disk drive technology and the owner of 46% of
https://www.sec.gov/Archives/edgar/data/826674/000101968701500938/ivg_sb2a1-101001.txt                                                                                      6/101
                         Case 1:25-cv-00613-MLB                                Document 41-3                       Filed 05/23/25                   Page 38 of 62




5/1/22, 8:43 AM                                                  https://Www.sec. gov/ Archlves/edgar/data/826674/000101968701500938ftvg_sb2a 1-101001 .llct
                           the common stock of iTVr, Inc., which is developing next
                           generation digital video recording technology; and

                  o        CyberCoupons.com, Inc., a development stage company that
                           intends to be a source for consumers to obtain coupons for
                           grocery, household and beauty products via the Internet.
  We are also actively pursuing opportunities to expand our business into the
  human resources outsourcing industry through the acquisition of professional
  employer organizations. A professional employer organization typically provides
  employee payroll, human resource and benefit services on an outsourced basis. At
  this time, we are exploring opportunities within this arena, but do not have any
  definitive agreements to merge with or acquire a professional employer
  organization at this time.

  RISK FACTORS
  An investment in our common stock is speculative and involves a high degree of
  risk. You should consider the risk factors described on pages 3 to 5 of this
  prospectus, together with the other information in this prospectus, in
  evaluating an investment in our common stock.

  THE OFFERING
  On February 2, 2001, Alpha Capital Aktiengesellschaft, AMRO International, S.A.,
  Markham Holdings Ltd. and Stonestreet limited Partnership (the "investors")
                                                                                                                                        Unregistered broker-dealers
  purchased from us an aigregate $1,180,000 of our 6% convertible notes due 2003.

  Under our agreement wifll the investors, we will be obligated to· issue additional
                                                                                                                                 GX 1, GX 2, GX 3, and GX 4
  shares of our common stock to them if the closing bid price of our common stock
  is not equal to or greater than $2.374 for 10 consecutive trading days during
  the 180-day period beginning on the effective date of this registration
  statement.
  In consideration for their investment, we also issued the investors warrants to
  purchase an aggregate of 275,000 shares of our common stock at an exercise price
  of $1.647. In partial consideration for serving as our financial advisor and
  private placement agent in connection with the issuance of the notes, we issued
  Union Atlantic Capital, L.C. a warrant to purchase 50,000 shares of our common
  stock at an exercise price of $1.647 .

  Through this prospectus, the selling securityholders may offer to the public the
  common stock acquired upon the conversion of the notes, the exercise of the
  warrants and the additional shares we may be required to issue to the investors.
  The offering price of such sales will be determined at the time of sale by a
  selling securityholder. See "Financing Agreements" and "Plan of Distribution."

  <PAGE >

https:/twww.sec.gov/Archives/edgar/data/826674/000101968701500938/ivg_sb2a 1-101001 .txt                                                                            7/1 01
                        Case 1:25-cv-00613-MLB                                Document 41-3              Filed 05/23/25             Page 39 of 62




                                                                     that would be iss          he
                                                                  is registration sta           ade
                                                                  ng bid price does
                                                                  utive trading d
                                                                  closing bid price over e     ve
                            d~~a at the end o                    riod exceeds $1.5825 (278,042
                            shares), and

               o           100% of the shares issuable on exercise of the warrants held
                           by the investors (275,000 shares).

  We will not receive any of the proceeds from the resale of the common stock by
  the selling securityholders . We may receive total proceeds of up to $82,350 in
  connection with the exercise of certain warrants by the selling securityholders.

  SHARES OF COMMON STOCK OUTSTANDING:

                           o     Prior to this Offering:             51,661,759 shares

                           o
                                                                                                                      Predatory Hobbs Act
                                       this Offering : 90,895,179 shares (assuming the
                                 conversion of the notes and exercise of the warrants into                            unlawful debt collection
                                 all shares included in the registration statement of which
                                 this prospectus is a part).                                                          activities.
  HOW TO CONTACT US

  Our principal offices are located at 13135 Dairy Ashford , Suite 525, Sugar Land,
  Texas 77478. Our telephone number is (281) 295-8400.

  <TABLE>
  SUMMARY FINANCIAL DATA
  <CAPTION >

                                                                                           SIX MONTHS ENDED          YEAR ENDED DECEMBER 31,
                                                                                           --------- -------          -------- ---- -----------
                                                                                            JUNE 30, 2001              2000                 1999
                                                                                            -------------
  <5>                                                                                        <C>               <C>                    <C>
  Total Revenues                                                                            $     427,595      $         396,300      $      402,422
  Total Expenses                                                                            $ 13,040,669       $      23,570,385      $      575,268
  Net (Loss)                                                                                $ (12,834,677)     $     (21,146,313)     $     (291,831)
  Ba sic and fully diluted net loss per share                                               $        ( .25)    $           (0.59)     $        (0.05)
  Shares used in computing basic and fully diluted net los s
https:/lwww.sec.gov/Archives/edgar/data/826674/000101968701500938/ivg_sb2a 1-101001.tJct                                                                8/101
     Case 1:25-cv-00613-MLB             Document 41-3          Filed 05/23/25        Page 40 of 62
      Case 1:25-cv-00613-M LB            Document 19-4         Filed 03/31/25       Page 1 of 16




lt7--1~ (Part 17-14) 03.28.25 re The Parties' Joint Dec!•r•tio~.and
Stipulation .of Rule 3.3 Ud(ir·S.4 Vtolaffons, -.11.u Swn Cil1aln
Stipulated Mon"y Judgment Damages of SS.2125 bOlion,~tittsoFFICE
Supnort ol ,1 Court._,Supervlsed Rple 3,.3 Candor Proceedlgg. u.s.o,c. •Atlanta
                                                              MAR 31 2025
                        Case No. 1:25-cv-00613-MLB
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                                                                                           By·~      l>8'1ulyO.
                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION                                          Appx C
Ulysses T. Ware and Group Management (a sole proprietorship),
Appellanisy

v.

Alpha Capital AG, et al., Predaiory Unregistered Broker-Dealers,
Appellees.

(On Appeal from In re Group Management Corp., Case No. 03-93031 (BC NDGA), Chapter
11)



APPELLANTS' AND APPELLEES' JOINT DECLARATION AND STIPULATION IN
SUPPORT OF A COURT-SUPERV ISED RULE 3.3 CANDOR PROCEEDING
REGARDING (I) LACK OF ARTICLE III SUBJECT MATTER JURISDICTION
(STANDING), (II) VIOLATIONS OF GEORGIA RULES OF PROFESSIONAL
CONDUCT 3.3 AND 8.4, AND BANKR. RULE 901l(b){l-4), AND (III) S~T.ED
CONSENT MONEY mi>GMENT FOR DAMAGES, JOINTLY AND SEVERALLY, 1N
THE SOM CERTAIN AMOUNT Qli' $5.2225 BILUON, PAYABLE m,; TBE
UPlmiANU, VLYSSES!I'. WAkE AND GROUP MANAGEMENT.
RespectfuUy submitted this 28th day of March 2025 at 1:05:32 PM

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L      .
Brooklyn, NY 11226
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Page 1 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
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   Case 1:25-cv-00613-MLB              Document 41-3           Filed 05/23/25        Page 41 of 62
      Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25        Page 2 of 16




(718) 844-1260
utware007@gmail .com

By: /s/ Ulysses T. Ware

 Ulysses T. Ware
 Attorney in Fact for Appellants




Page 2 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NDGA), and 25cv00613 {NDGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
   Case 1:25-cv-00613-MLB              Document 41-3           Filed 05/23/25        Page 42 of 62
      Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25        Page 3 of 16




TO: EACH APPELLEE (AND THEIR LEGAL COUNSEL) NAMED IN DKT. 281 (03-
93031), INCLUDING BUT NOT LIMITED TO KILPATRICK TOWNSEND &
STOCKTON LLP (DENNIS S. MEIR, JOHN W. MILLS III, J. HENRY WALKER IV,
W AB KADABA), KENNETH A. ZITTER, ESQ., ARIE RABINOWITZ, OFFICE OF THE
U.S. TRUSTEE, REGION 21 (JAMES H. MORA WETZ, MARY IDA TOWNSON,
JENEANE TREACE), THEIR PRIVIES, AGENTS, PROXIES, SURROGATES, ALTER-
EGOS, AND ALL THOSE IN ACTIVE CONCERT THEREWITH, JOINTLY AND
SEVERALLY, (THE "APPELLEES"), AN ILLEGAL ASSOCIATION IN FACT AS
DEFINED IN 18 U.S.C. § 1961(4).

DEMAND FOR RESPONSE AND CONSEQUENCES OF FAILURE TO RESPOND

        Each Appellee identified above and in Dkt. 281 (03-93031 ), their privies, agents, proxies,
surrogates, alter-egos, and all those in active concert therewith, jointly and severally, are hereby
formally put on notice of the foregoing factual predicates establishing their lack of Article m
standing and violations of professional conduct rules 3.3 and 8.4, and personal monetary liability
for the sum certain amount of$5.2225 billion,jointly and severally.

        Appellees are directed to respond to this Declaration (17-16) (Part 17-16) (Parts I, II,
II, IV, and V), supra, in written opposition, under oath, subject to the penalty of perjury, as
officers of the court where applicable, and pursuant to their duties under Rules 3.3 and 8.4
of the District Court (NDGA) the ABA and Georm• Bar's Rules of Professional Conduct,
it w-7iPFffHaJPI.WIIKil..,..__#s .·:a-·, idl'iu ···,,;
        Failure by any Appellee (or their authorized counsel) to file a timely, sworn written
opposition specifically refuting the factual predicates in Parts I, II, III, IV, and V above shall result
in each non-responding Appellee being deemed, jointly and severally, to have knowingly and
willfully, with actual and constructive notice of this Joint Declaration (17-16), JUDICIALLY
ADMITTED, CONFESSED, STIPULATED, AND AGREED to the truth and ac:curac of each
factual predicate herein, and to have NO'~                     te  ·a . .........       fllat' A.r.lde ID
....,:wa~~........,.. ... --!".
                              ' .~~;........ -t.-,~of
...    ·M          ~~~.... or.......... ( : ~ QtHU'Qfled..·m ~~
P.Wl      ~~-

       These judicial admissions shall be binding upon each non-responding Appellee for use in
and for any purpose with respect to the following judicial proceedings: 02cv22 l 9 (SONY), 03-
93031 (BCNDGA), U.S. v, Ware, 04crl224 (SONY), U.S. v. Ware, 05crll 15 (SDNY),/n re Ware
(2008) (Supreme Court of Georgia), 25cv00613 (NOGA), and any other subsequent proceeding
between Appellants and Appellees.

Signed this 28th day of March 2025, under oath, subject to the penalty of perjury, having personal
knowledge of the facts, pursuant to 28 U.S.C. § 1746, in Brooklyn, NY.



Page 3of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 25C'J00613 (NOGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
   Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 43 of 62
     Case 1:25-cv-00613-MLB             Document 19-4          Filed 03/31/25       Page 4 of 16




411yssesT.     ~Wa.u
Uly~;.re, attorney in fact for the Appellants
March 28, 2025
Brooklyn, NY 11226




Page 4 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SDNY), 03 -93031 (BC NDGA), and 25cv00613 (NDGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
   Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 44 of 62
     Case 1:25-cv-00613-MLB             Document 19-4          Filed 03/31/25       Page 5 of 16




                       The Office of Ulysses T. Ware
                                      123 Linden Blvd., Ste 9-L
                                        Bro9klyn, NY 11226
                                           (718) 844-1260
                                       utware007@gmail.com

                                Friday, March 28, 2025, l :05:32 PM

                              Ware, et aL v. Alpha Capital, AG, et aL

    Case No. 25cv00613 (NOGA) and 03-93031 (BC NDGA), and 02cv22 l 9 (SONY), and
 04crl224 (SONY), and 05crl 115 (SONY), and In re Ware (2008), Supreme Court of Georgia




    The Appellants' and Appellees' Joint Rule 3.3
     and Rule 8~4 Declaration and Stipulation.
I, Ulysses T. Ware, hereby this 28 th day of March 2025, on behalf of the Appellants and each
Appellee, (with actual notice and implied consent), pursuant to 28 U.S.C. § 1746, incorporate
by reference herein, in haec verba, the Joint Stipulated Appellate Record (JSAR) in 25cv00613
(NDGA), and declare under penalty of perjury under the laws of the United States of America,
based upon personal knowledge and a diligent review of the record in this matter (Dkt. 5-1 to Dkt.
18) and related proceedings (02cv2219 (SDNY)), that the following facts are true and correct.
These facts establish the absence of Article III subject matter jurisdiction (standing) concerning
Appellees' participation in this appeal (25cv00613) and the underlying Bankruptcy Court
proceeding (03-93031 ), and further establish Appellees • and their counsels' violations of their
ethical duties under the District Court (NDGA), the ABAj and Georgia Rules of Professional
Conduct Rule 3.3 and Rule 8.4, Bankruptcy Rule 901 l(b)(l-4), and 28 USC§ 1927:

                                                  I.




PageSof16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219.(SDNY), 03-93031 (BC NOGA), and 2Scv00613 (NOGA) proceedings; and
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   Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 45 of 62
      Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25       Page 6 of 16




I. FACTUAL PREDICATES CONFIRMING LACK                                                              OF
ARTICLE   III ST ANDING  AND VIOLATIONS                                                            OF
PROFESSIONAL CONDUCT RULES.
    I. Incontrovertible Illegality and Voidness Ab lnitio of Underlying Instruments (GX 1-
       4, GX 5): The Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5),
       forming the sole basis for Appellees' purported claims (Dkt. 5-l to 5-6), are void ab initio
       under: (a) New York Penal Law § 190.40 (criminal usury, a class E felony), imposing
       interest exceeding 2,000% per annum, making them null and void ab initio, uncollectible,
       and unenforceable criminal usury contracts; and (b) 15 U.S.C. § 78cc(b), due to Appellees'
       (the 02cv2219 Plaintiffs) operation as unregistered broker-dealers [JSAR, Dkt. 5-13, p.
       48], rendering the associated contracts, GX 1-4, and GX 5, void as to their rights. Legal
       Significance: This fundamental, multi-layered illegality and voidness, knowable through
       reasonable inquiry, negates any possibility of a "legally protected interest" for Article III
       standing. Lujan v. Defenders of Wildlife, 504 U.S. 555,560 (1992).
    2. Conclusive 2007 Final Judgment Extinguishing All Claims: On December 20, 2007,
       the 02cv22 I9 Plaintiffs (Appellees/privies herein), through their legal counsel Appellee
       Zitter, voluntarily procured a Final Judgment dismissing all claims based on GX 1-4/GX
       5 with prejudice under Rule 4l(a)(2) in 02cv2219 (SDNY), after all statutes of limitation
       had expired [JSAR, Dkt. 5-13 , pp. 46-47, 52J. Legal Significance: This constitutes a final
       adjudication on the merits, absolutely barring Appellees and their privies from ever re-
       litigating these extinguished claims under res judicata. Federated Dep 't Stores, Inc. v.
       Moitie, 452 U.S. 394, 398 ( 1981 ).
    3. Appellees' Key Filings in 03-93031 (BC NDGA) Predicated on Void/Extinguished
       Claims: In April 2003, well after the execution of the void instruments and before the 2007
       Final Judgment, Appellees KTS and UST filed key documents in the 03-93031 bankruptcy
       case, including:

            a) Dkt. 5-1: UST ' s Notice of Appearance (Morawetz, Townson, Treace).
            b) Dkt. 5-2: KTS' Entry of Appearance for 02cv2219 Plaintiffs as purported
               "creditors" and "interested parties" (KTS, Meir, Mills, Walker, Kadaba).
            c) Dkt. 5-3: UST Motion for Dismissal with Prejudice or Conversion, relying
               implicitly on the SDNY litigation concerning GX 1-4/GX 5 (Morawetz, Townson,
               Treace).
            d) Dkt. 5-4: KTS' Opposition to Debtor's Motion to Reject GX 1-4/GX 5, asserting
               their validity.
            e) Dkts. 5-5 & .5-6: KTS ' Emergency Motion to Dismiss and Supporting Brief,
               predicated entirely on the enforceability of GX 1-4/GX 5 and related SDNY orders.

    4. Breach of Duty of Inquiry (Rule 901l(b)(3) & Rule 3.3): Appellee attorneys (KTS
       partners Meir, Mills, Walker, Kadaba; Zitter; Rabinowitz; UST attorneys Morawetz,
       Townson, Treace) had a non-delegable duty under Fed. R. Bankr. P. 901 l(b)(3) and their


Page 6 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SDNY), 03-93031 (BC NDGA), and 25cv00613 (NDGA) proceedings; and
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   Case 1:25-cv-00613-MLB              Document 41-3           Filed 05/23/25        Page 46 of 62
     Case 1:25-cv-00613-MLB              Document 19-4          Filed 03/31/25       Page 7 of 16




       ethical duty of candor (Georgia Rule 3.3) to conduct a reasonable inquiry into the factual
       contentions and legal basis for their filings (Dkts. 5-1 to 5-6) before submitting them to the
       Court. A reasonable inquiry would have readily revealed the patent criminal usury under
       NY law and the federal securities violations (unregistered broker-dealer status) rendering
       GX l -4/GX 5 void ab initio. Their failure to conduct such inquiry or to heed its results
       constitutes a violation of these duties. See Dkt. 9 (F-10).
    5. Making False Statements of Law and Fact (Rule 3.3(a)(l)): By filing Dkts. 5-1 through
       5-6, which explicitly or implicitly represented GX 1-4/GX 5 as valid, enforceable debts
       conferring "creditor" or "interested party" status upon the 02cv2219 Plaintiffs, Appellee
        lawyers made knowing or reckless false statements of material fact and law to the
        Bankruptcy Court, directly violating Georgia Rule of Professional Conduct 3 .3( a)( 1). They
         presented predatory criminal usury null and void instruments, GX 1-4, and GX 5, as legally
         viable claims.
    6. Failure to Disclose Material Facts (Rule 3.3(a)(2)): Appellee lawyers failed to disclose
         to the Bankruptcy Court and have fai led to disclose to this Court the material facts
         concerning the criminal usury of GX l -4 under NY Penal Law § 190.40 and the federal
         statutory voidness of GX 1-4/GX 5 under 15 U.S.C. § 78cc(b) due to their clients'
         unregistered broker-dealer status. This disclosure was and is necessary to avoid assisting
         their clients' criminal and fraudulent act of attempting to collect unlawful debts through
         the bankruptcy process, constituting a violation of Georgia Rule of Professional Conduct
         3.3(a)(2).
    7. Presenting Legally Frivolous Claims (Rule 9011(b)(2)): The claims and legal positions
         asserted in Dkts. 5- l through 5-6, predicated entirely upon the void ab initio and criminally
         unenforceable GX 1-4/GX 5, were not warranted by existing law and lacked any non-
         frivolous basis for an argument to extend, modify, or reverse existing law. These filings
         were legally frivolous, violating Fed. R. Bankr. P. 90 I I (b )(2).
    8. Improper Purpose (Rule 9011(b)(l)): Filings Dkts. 5-1 through 5-6 were presented for
         improper purposes, including: (a) to harass Appellants; (b) to cause unnecessary delay and
         needlessly increase t~e cost of litigation; (c) to abuse the bankruptcy process as an
         instrument for collecting criminally usurious and void debts; and (d) to obstruct the
         Debtor's reorganization efforts, conceal assets of the Chapter 11 estate ( +$522 million in
         strict-liability short-swing insider-trading profits) and evade consequences in the SDNY
         litigation (including contempt orders). This conduct violates Fed. R. Banla. P. 901 l(b)(l ).
    9. Di~honesty, Fraud, Deceit, Misrepresentation (Rule 8.4(c)): By knowingly or recklessly
         presenting false claims based on void instruments, concealing material facts about their
         illegality, and misleading the Bankruptcy Court regarding their clients' true status and the
         nature of the debts, Appellee lawyers engaged in conduct involving dishonesty, fraud,
         deceit, and misrepresentation, directly violating Georgia Rule of Professional Conduct
         8.4(c).
    I 0. Conduct Prejudicial to the Administration of Justice (Rule 8.4(d)): The filing and
         pursuit of claims based on null and void ab initio and predatory criminal instruments (Dkts.
         5-1 to 5-6) wasted significant judicial resources, prolonged litigation based on meritless
         grounds, abused the bankruptcy system, and undermined public confidence in the judiciary.


Page 7 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Ru les 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SDNY), 03-93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
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and severally.
    Case 1:25-cv-00613-MLB                Document 41-3        Filed 05/23/25        Page 47 of 62
      Case 1:25-cv-00613-MLB              Document 19-4        Filed 03/31/25        Page 8 of 16




         This conduct is inhenmtly prejudicial to the administration of justice, violating Georgia
         Rule of Professional Conduct 8.4 d .

         RM•••
     11. ,
                        (Rule 3.3(a)(l)) and                                      : Appellee lawyers have
          an ongoing ethical duty to correct any prior false or misleading statements made to the
          tribunal. Their failure to correct the representations made in Dkts. 5-1 to 5-6 after Judge
          Sand•s Dec. 20, 2007, voluntary Rule 4l(aX2) Final Judgment definitively extinguished
          all underlying claims, and their continued participation in 03-93031 and this 25cv00613
          appeal . predicated implicitly or explicitly on those filings, -,,,,,,,. 4 ,,,,.,.,,.,,
          fffW p of Georgia Rules 3.3 and 8.4. They continue to benefit from and perpetuate the
          initial fraud on the court.
     12. Specific Misrepresenta tion in KTS Notice of ApRe2tran~e (Dkt. S-2): KTs:.s •formal
         En~.~,~ f :AJ!pearance   g>kt.    5-2] on behalf of ffJiitdJ'WIQ;r..,.•gn . . .
         rtntfr1tnfl....fztn Alpha Capital AG, Stonestreet L.P., Markham Holdings Ltd.•
         and AMRO International S.A. explicitly identifies these entities as "interested parties and
         creditors. 11 This representation was demonstrably false, as their status was predicated solely
         on the void and criminally usurious GX 1-4/GX 5. This filing constitutes a direct violation
         of Rules 3.3(a)(l) and 8.4(c).
     13. UST's Complicity and Breach of Duty (Dkt:s. 5-1, S-3): The UST's filings, including its
         Notice of Appearance [Dkt. 5-1] and Motion to Dismiss [Dkt. 5-3], by aligning with KTS's
         criminal and unethical efforts to enforce and facilitate the Hobbs Act loan sharking and
         extortionate collection of GX 1-4 and relying on circumstances arising from the void debts
         (such as the SDNY fraudulent and void ab initio pwported contempt order (GX 11, March
          11, 2003) stemming from Appellants' lawful efforts in refusing to honor Appellees'
         unlawful criminal usury debt collection criminal conversions under GX 1-4) without
         acknowledging or addressing the underlying illegality, implicitly validated the Appellees'
         improper claims. This constituted a failure by the UST attorneys (Morawetz, Townson,
         Treace) to uphold their duty to protect the integrity of the bankruptcy process and violated
         ethical duties analogous to Rules 3.3 and 8.4 applicable to government attorneys.
    14. KTS's Frivolous and Misleading Motions (Dkts. 5-4, 5-S, 5-6): KTS's Opposition to the
         Debtor's Motion to Reject Executory Contract [Dkt. 5-4], its Emergency Motion to Dismiss
         [Dkt. 5-5], and its supporting Brief [Diet. 5-6] were entirelv p,-etlicgted on the false premise
        that GX 1-4/GX 5 we,re valid. lawfuL and enfol'Ceable contracts. These filings constitute
        direct, material misrepresentations oflaw and fact to the Bankruptcy Court, violating Rules
        }.),.(~(!) and 8.4(c), and vye!_e.~ ,v olou~~d~.r Rule 901 l(b)(2).
    15. ~ A 1!11lfJr•1 11      a.,,·, .,.     al:11;::lti~ Pursuant to the demand below, failure by
        any Appellee or their counsel to provide a timely, sworn opposition refuting these factual
        predicates (1-14) will constitute a binding judicial admission under penalty of perjury as to
        the truth of these facts and the validity of the legal conclusions regarding lack of standing
        and ethical violations, applicable in all related proceedings.




Page8of16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 2Scv00613 (NOGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
   Case 1:25-cv-00613-MLB                Document 41-3          Filed 05/23/25        Page 48 of 62
        Case 1:25-cv-00613-MLB            Document 19-4         Filed 03/31/25       Page 9 of 16




II. FACTUAL PREDICATES CONFIRMING LACK OF
ARTICLE III STANDING, HOBBS ACT VIOLATIONS, RICO
PREDATORY CRIMINAL USURY        UNLAWFUL    DEBT
COLLECTION, AND VIOLATIONS OF PROFESSIONAL
CONDUCT RULES.
(Facts 1-9 establish the foundational illegality, voidness, and preclusion).

      I . Inherent Illegality and Voidness Ab Initio of GX 1-4, GX 5 under New York Criminal
          Law: The Predatory Criminal Usury Subject Matter Instruments (GX 1-4, GX 5) are void
          ab initio and criminally usurious under NY Penal Law§ 190.40, a class E felony, imposing
          interest/charges exceeding 2,000% p.a. This criminality renders them nullities incapable of
          conferring any "legally protected interest" cognizable in the 02cv22 l 9 (SONY), 03-93031
          (BC NOGA), 04crl224 (SONY), 05crl 115 (SONY), 25cv00613 (NOGA), and/n re Ware
          (2008) Supreme Court of Georgia. Adar Bays, LLC v. GeneSYS ID, Inc., 28 F .4th 379 (2d
          Cir. 2022); Lujan v. Defenders of Wildlife, 504 U.S. 555,560 (1992).
      2. Federal Statutory Voidness (Unregistered Broker-Dealer Status): Appellees
          (02cv22 l 9 Plaintiffs), clients ofKTS, were certified by FINRA's senior executive Marcia
          E. Asquith, Esq. on May 17, 2021, as unregistered broker-dealers [JSAR, 0kt. 5-13, p. 48],
          rendering contracts GX 1-4/GX 5 void as to their rights under 15 U.S.C. § 78cc(b),
          independently eliminating any alleged or purported "legally protected interest" in the
          predatory criminal usury subject matter, GX 1-4, and GX 5. Mills v. Electric Auto-Lite Co.,
          396 U.S. 375, 387-88 (1970).
      3. Federal Criminality (RICO & Hobbs Act): Appellees', their privies, agents, proxies,
          surrogates, alter-ego, and all those in active concert therewith attempts to collect debts void
          for criminal usury constitute "unlawful debt collection" under RICO, 18 U.S.C. §§
           I961(6)(B), 1962, and felony extortion under the Hobbs Act, 18 U.S.C. § 195 l(a), when
          using judicial process or threats. United States v. Grote, 961 F.3d 105 (2d Cir. 2020).
          Appellees cannot have a "legally protected interest" in committing federal felonies.
      4. Exclusive Basis of 02cv2219 (SDNY) Litigation: The 02cv2219 SONY lawsuit initiated
          by Appellees was predicated exclusively upon the purported enforceability of the null and
          void initio and unlawful GX 1-4 and GX 5. []SAR, 0kt. 5-5].
      5. Conclusive Judge Sand's Rule 4l(a)(2) 2007 Final Judgment Procured by Appellees:
          On Dec. 20, 2007, after the statute of limitations expired, Appellees, through Appellee
          Zitter, voluntarily sought and procured a Final Judgment dismissing all 02cv22 l 9 claims
          with prejudice under Rule 4l(a)(2). []SAR, 0kt. 5-13, pp. 46-47, 52].
      6. Absolute Res Judicata .Effect of 2007 Final Judgment: This dismissal with prejudice is
          a final adjudication "on the merits," absolutely barring Appellees and their privies from re-
          litigating any claims that were or could have been raised concerning GX 1-4/GX 5.
          Federated Dep 't Stores, Inc. v. Moitie, 452 U.S. 394, 398 (1981 ); Semtek, 531 U.S. at 505 -
          06.


Page 9 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
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    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 49 of 62
     Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25        Page 10 of 16




    7. Annulment and Mootness Effect: The voluntary dismissal annulled all prior interlocutory
       proceedings/orders/judgments within 02cv22 l 9, rendering the underlying controversy
       regarding GX 1-4/GX 5 moot as of Dec. 20, 2007. A.B. Dick Co. v. Marr, 197 F.2d 498,
       502 (2d Cir. 1952); L-3 Commc'ns EOTech, 921 F.3d at 18-19. This does not affect the
       external preclusive effect of the final judgment itself.
    8. Established Privlty: Appellees herein are either the original 02cv2219 Plaintiffs or their
       privies (including KTS, Zitter, Rabinowitz, potential successors, agents, and those in active
       concert) bound by the 2007 Final Judgment under Taylor v. Sturgell, 553 U.S. 880 {2008).
       [See Appellants' Memo #7].
    9. Conclusive Judicial Admissions. of Criminal Intent: Appellee Zitter confessed under
       oath in Nov. 2007, during the U.S. v. Ware, 04cr1224 (SDNY) trial to "hiring" KTS for
       unlawful "collection activity" in the 03-93031 Chapter 11 bankruptcy court [Dkt. 9, Ex. F-
       11 ]. The KTS Memo confirms KTS's knowledge of related illegalities (insider trading) and
       conspiracy. [Dkt. 9, Ex. F-10]. These admissions establish predicate and overt acts for
       RICO extortion, money laundering, unlawful debt collection activities. conspiracy to
       commit bankruptcy fraud, extortion, and other racket~ring activities, and negate good
       faith.




III. (Facts 10-19 establish the Appellees' and their Privies' Hobbs
Act and RICO viGlations via Dkt. 5-1 to 5-6).
    10. KTS's Fraudulent Entry ofAppearance (Dkt. S-2) as Predicate Act: On April 10, 2003,
        KTS (Meir, Mills) flied an Entry of Appearance [Dkt. 5-2] in 03-93031, falsely
        representing the 02cv2219 Plaintiffs (unregistered broker-dealers) as "creditors" and
        "interested parties." Legal Significance: This tiling, using court process ("color of official
        right") to assert fraudulent and void rights based on predatory null and void/criminal usury
        debts (GX 1-4/GX 5), constitutes an overt act ofattempted Hobbs Act extortion(§ 195 l(a))
        and an act of"collecting an unlawful debt" under RICO(§§ 1961(6)(B), 1962).
    11. UST Motion (Dkt. 5-3) Aiding and AbettingKTS' Unlawful Debt Collection Activity:
        On April 10, 2003, the UST (Morawetz) filed a bogus and manifestly frivolous Motion to
        Dismiss [Dkt. 5-3], · alleging bad faith based inter alia on what Morawetz risibly
        characterized as "Appellants seeking to avoid the consequences (including contempt/arrest
        order related to the predatory criminal usury null and void ab initio unlawful debts GX 1-
        4) of the SDNY litigation." (paraphrased). Legal Significance: By seeking dismissal to
        facilitate . enforcement and collec~on effortsrelatedto the predatory null and void/criminal
        debts,WAlif/lll~1flffPPFr:I                            the attempted Hobbs Act extortion (§
        1951(a)) and RICO unlawful debt collection(§§ 1961(6)(B), 1962) by Appellees KTS and
        their clients.
    12. KTS' Manifestly Frivolous, Risible, Vexatious, Filed for an Improper Purpose, and
        Baseless Opposition (Dkt. 5-4) Asserting Validity of Predatory Criminal Usury Void
        Ab lnitio Unlawf,,d Debts: On April 11, 2003, KTS (Meir) filed an Opposition [Dkt. 5-4]

Page 10of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 2Scv00613 (NOGA) proceedings; and
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   Case 1:25-cv-00613-MLB               Document 41-3          Filed 05/23/25        Page 50 of 62
     Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25       Page 11 of 16




        to the Debtors motion (Doc. 5, 03-93031) to reject GX 1-4/GX 5, explicitly lying,
        committing perjury, and fraudulently arguing in bad faith these void and criminally
        usurious instruments were valid and enforceable contracts, further asserting rights derived
        from the SDNY judgment based upon them. Legal Significance: This filing constitutes
        another ovel't act of attempted Hobbs Act extortion(§ 195l(a)) and RICO unlawful debt
        collection (§§ 1961(6)(B), 1962), using court filings to demand enforcement of
        void/criminal obligations.
    13. KTS Emergency Motion to Dismiss (Dkt. 5-S) Predicated i>D Predatory Null and Void
        Ab lnitio Criminal Usury Unlawful Debts: On April 11, 2003, KTS (Meir) filed a risible,
        manifestly frivolous, and bad faith Emergency Motion to Dismiss [Dkt. 5-5] the 03-93031
        Chapter 11 ~e ar u·          volousl " ... dismissal was warranted because ,the case was
         Uedsole



                                                                                to evade compliance
       with SDNY Orders concerning the void/criminal GX 1-4/GX 5." (paraphrased). Legal
        Significance: This bad faith, frivolous, and fraudulent motion by KTS, seeking dismissal
        of the Chapter 11 to clear the path for the fraudulent criminal prosecutions of Appellant
        Ware in 04crl224 (SONY) and 05cr1115 (SDNY), and Hobbs Act predatory collection
        efforts based on predatory null and void/criminal usury debts, constitutes a further overt
        and predicate act of attempted Hobbs Act extortion(§ 195l(a)) and RICO unlawful debt
        collection(§§ 1961(6)(B), 1962).
    14. KTS Brief (Dkt. 5-6) Explicitly Arguing for Enforcement of Predatory Null and Void
        Debts: The Brief in Support [Dkt. 5-6] filed by KTS (Meir) alongside Dkt. 5-5 explicitly
        argues the frivolous and vexatious, and bad faith purported merits of enforcing the moot
        and void ab initio alleged 02cv22 l 9 SDNY Orders (GX 11) predicated on the void/criminal
        GX 1-4/GX 5. Legal Significance: This brief provides detailed written advocacy
        leveraging the judicial process ("color of official right") to attempt collection of
        void/criminal debts, constituting clear evidence of attempted Hobbs Act extortion (§
        1951 a and RICO              I debt collection     1961 6 B 1962 .
    15.                                                                                The series of
                                                                                                  all
        aimed at enforcing or facilitating the collection of the void/criminal debts GX 1-4/GX 5
        through the Bankruptcy Court, constitutes q paUern of racketeerin~ activity under RICO,
        specifically multiple predicate acts of unlawful debt collection. 18 U.S.C. §§ 1961(5),
        1962(c).
    16. Conspiracy (RICO § 1962(d), 18 U.S.C. § 371): The coordinated filings and shared
        objective between KTS (acting for the 02cv22 l 9 Plaintiffs) and the UST (Dkts. 5-1 through
        5-6) to achieve dismis~al of the Chapter 11 case, thereby facilitating the collectfon efforts
        related to the void/criminal debts, evidence a conspiracy to collect unlawful debt in
        violation of RICO, 18 U.S.C. § 1962(d), and a willful and deliberate conspiracy to defraud



Page 1lof16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NDGA), and 25cv00613 (NDGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, Jointly
and severally.
   Case 1:25-cv-00613-MLB              Document 41-3           Filed 05/23/25       Page 51 of 62
     Case 1:25-cv-00613-MLB             Document 19-4          Filed 03/31/25       Page 12 of 16




         the United States (by impeding the lawful function of the Bankruptcy Court), 18 U.S.C. §
         371.
    l 7.lllf-1t                                                 .l llii[\illlilfil
                        illJl,D ,...,· ~~•!ii ' • . • •. ..: . , ~.. .• ; :¥,        Each filing by
         Appellees KTS and UST (Diets. 5-1 through 5-6) within the 03-93031 bankruptcy
         proceeding, invoking the authority and processes of the federal court to advance the
         collection of predatory null and void/criminal debts, GX 1-4, and GX 5, represents a
         wrongful use of "color of official right" supporting Hobbs Act extortion liability (§
         195l(a)).
    18. "Collection" Activity under RICO§ 1961(6)(B): The filings Dkts. 5-2, 5-4. 5-5, and 5-
         6 by KTS, seeking dismissal of the 03-93031 Chapter 11 bankruptcy or opposing the
         Debtor's rejection of the null and void ab initio predatory criminal usury wilawful debt
         contracts, GX 1-4, GX 5, to facilitate recovery, constitute direct attempts to "colJect" an
         "unlawful debt" (defined in § 1961(6) as debt unenforceable due to usury) and are
         therefore predicate racketeering acts. See Grote, 961 F.3d at 119.
    19. Nexus Between Filings and Unlawful Objective: All filings Dkts. 5-1 through 5-6 are
         inextricably linked to the ultimate unlawful objective: obtaining payment or its equivalent
         (e.g., preventing rejection, facilitating SDNY enforcement) based on the void and
         criminally usurious GX 1-4/GX 5. The filings were instrumental means to achieve this
         illegal end.




IV. (Facts 20-27 establish the absence of Article III standing
elements and ethical violations).
    20. Irrefutable Absence of Concrete Injury-in-Fact to a Legally Protected Interest:
        Based on predicates 1-19, Appellees cannot factually demonstrate any invasion of a
        "legally protected interest" in GX 1-4, and GX 5, predatory null and void ab initio
        criminal usury unlawful debtst negating the Article III standing "particularized, concrete
        injury-in-fact" requirement. Lujan, 504 U.S. at 560.
    21. Manifestly Self-Inflicted llarm (Clapper): Any detriment (unable to collect or enforce
        predatory criminal usury unlawful debts, GX 1-4, and GX 5) Appellees claimed in the
        02cv22 l 9 (SDNY) complaint, and in Dkt. 5-1 to 5-6, was voluntarily self-inflicted due to
        their own illegal criminal loan sharking misconduct and voluntary Rule 41 (a)(2) dismissal
        with prejudice of 02cv2219 (SDNY) lawsuit on Dec. 20, 2007, is legally and factually
        insufficient for Article Ill standing. Clapper, 568 U.S. at 416.
    22. Failure to Establish Causation: Any alleged "injury in facf' is not "fairly traceable" to
        Appellants' lawful conduct but to Appellees' own unlawful acts and Judge Sand's
        voluntary Dec. 20, 2007, Rule 4l(a)(2) 2007 Final Judgment. Lujan, 504 U.S. at 560.
    23. Absolute Impossibility of Lawful Redressability: No federal or state court is lawfully
        authorized to enforce voi~ criminal, and precluded claims; thus, the Appellees' alleged
        injury is unredressable, Lujan, 504 U.S. at 561; Steel Co.• 523 U.S. at 103-104.


Page 1Zof16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 52 of 62
      Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25       Page 13 of 16




     24. Resulting Mootness: No live "Case or Controversy" exists regarding Appellees'
         extinguished claims; all derivative and related (01cv2219, 03-93031, 04cr1224,
         05crl115, 25cv00613, and In re Ware (2008) Supreme Court of Georgia) proceedings
         are moot. A.B. Dick, .197 F.2d at 501-02; and see L-3 EOTech, 921 F.3d at 18-19.
     25. Appellees' Continuing Vexatious Re-litigation: Despite the above, Appellees persist in
         this appeal and prior proceedings [Dkts. 5-1 to 5-1 O], constituting bad faith collateral
         attack on Judge Sand's Dec. 20, 2007, voluntary Rule 41(a)(2) final judgment, vexatious
         and bad faith re-litigation of voluntarily mooted claims, and causing irreparable harm to
         the Appellants (+$5.2225 billion). [Deel. 17-13A, Part II].
     26. Violations of Ethical Duties (Rules 3.3, 8.4) and Rule 9011: Appellee lawyers (KTS,
         Meir, Mills, Walker, Kadaba, Southwell, Grushko, Mittman, NeSmith, Frederick,
         Burgess, Hewett. Myers, Nash, Mittlemen, ·Zitter, Rabinowitz, UST attomeys--
         Morawetz, Townson, Treace) violated duties their duty of candor, engaged in
         dishonesty/fraud/misrepresentation, and filed frivolous pleadings (Diets. 5-1 to 5-6) for
         improper purposes by presenting claims based on void/criminal/precluded debts without
         reasonable inquiry or disclosure.
     27. Binding Judicial Admissions by Failure to Respond: Failure to provide timely, sworn
         opposition refuting facts 1-26 constitutes binding judicial admission of these facts and the
         legal conclusions regarding lack of standing and misconduct.

V. Deemed Judicial Admission of Irreparable Hann and Joint and
Several Liability in the Sum Certain Amount of $5.2225 Billion.
        As a direct and proximate result of the Appellees' (including their privies, agents, proxies,
surrogates, alter egos, and all those in active concert therewith) failure to provide timely, sworn
written OpPQSiti2_,a s~i:fi. au)'. ~ - the_ factua.red .·. icates Parts I, II, m, and IV above by the
          o'"llire»W «
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deadline                           .~ fJi1114lb , as demanded in this Declaration (17-16),
each Appellee, jointly and severally, is deemed to have judicially admitted, confessed, stipulated,
and agreed. effective March 28, 2025, that:

a. The unlawful acts, criminal misconduct, ethical violations, and bad faith re-litigation efforts
detailed in factual predicates Parts I, II, Ill, and IV herein did, in fact, occut as described;

b. These unlawful acts and conduct directly and proximately caused irreparable harm, injury, and
damages to Appellants Group Management (a sole proprietorship) and Ulysses T. Ware;

c. The quantifiable measure of said irreparable harm, injury, and damages resulting from the
aforesaid unlawful acts and conduct amounts to the sum certain of $5,222,500,000.00 (Five
Billion, Two Hundred Twenty-Two MilUon, Five Hundred Thousand Dollars);

d. Each Appellee, their privies, agents, proxies, surrogates, alter egos, and all those in active
concert therewith, hereby judicially admit, confess, consent, and stipulate they are jointly and


Page 19 of16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 33 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during tht! 02cv2219 (SONY), 03-93031 (BC Nt>GA), and 25cv00613 '(NOGA) proceedings; and
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and severally.
    Case 1:25-cv-00613-MLB               Document 41-3            Filed 05/23/25         Page 53 of 62
     Case 1:25-cv-00613-MLB               Document 19-4          Filed 03/31/25         Page 14 of 16




severally liable to Appellants for the full amount of said damages-$5,222,5 00,000.00 (Five
Billion, Two Hundred Twenty-Two Million, Five Hundred Thousand Dollars).




VI. Legal Significance
       These deemed Judicial admissions, confessions, and factual stipulations arising from the
Appellees' failure to timely contest the underlying factual predicates establishing pervasive
criminal and tortious conduct, conclusively establishes:

    1. The fact of irreparable harm to Appellants;
    2. The precise quantum of damages suffered as a direct consequence of the unlawful
       conduct.; and
    3. The joint and several liability of all Appellees and their privies therefor.

        Accordingly, these matters are now removed from the realm of dispute in this proceeding
and all related proceedings, pursuant to binding principles of judicial estoppel, collateral
estoppel, and Rule 8(b)(6), Fed. R. Civ. P. (deemed admission of unanswered allegations), 1 as well
as controlling Eleventh Circuit law.2




        This Declaration serves as Appellants' formal notice and good faith attempt, pursuant to
Fed. R. Civ. P. l l(b)(l-4) (via Fed. R. Bankr. P. 9011), 28 U.S.C. § 1927, and Paragraph (m) of
Judge Brown's Standing Order [Diet. 2, 25cv00613], to "meet and confer" with Appellees
regarding the threshold, dispositive lack of Article III subject matter jurisdiction (standing) and
the profound ethical violations detailed herein. This effort is undertaken to demand that Appellees
and their counsel fulfil) their own ethical obligations under the District Court (NDGA), the ABA,
and the Georgia Rules of Professional Conduct Rules 3.3 and 8.4 by immediately ceasing the

1
  Fed. R Civ. P. 8{b)(6): Effect of Failing to Deny. An td/egqtion--other than one relating to the amount
of damages-is admitted if a responsive pleading is required and the al legation is not denied. If a responsive
pleading is not required, qn allegation is considered denied or avoided. United Stut~ v. 416.81 Acres of
Ll,nd. 514 F .2d 627. 631 (7th Cir. 1975).
2
 New Ha,r,pshire v. Mt1ine, 532 U.S. 742, 749 (2001) ("Where a party [Appellees' in 02cv2219 (SDNY),
03-93031, Dkt. 5-1 to 5- t 0] assumes a certain position in a legal proceeding, and succeeds in maintaining
that position [Diet. 28, 03-93031; Dkt 90, 02cv2219 (SDNY), voluntary Rule 4l(a)(2) final judgment], he
mav not thereafter, simply because his interests have changed, assume a contrary position, especially if it
be to the prejudice of the party who bas acquiesced in the position formerly taken by him."). (emphasis
added).

Page 14of16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SONY), 03-93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
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and severally.
   Case 1:25-cv-00613-MLB               Document 41-3          Filed 05/23/25        Page 54 of 62
      Case 1:25-cv-00613-MLB            Document 19-4          Filed 03/31/25       Page 15 of 16




presentation of claims and arguments for which no non-frivolous basis exists, acknowledging the
conclusive preclusive effect of the 2007 Final Judgment, correcting prior misrepresentations to the
tribunals. and withdrawing from further participation based on the extinguished claims,

DEMAND .F OR RESPONSE AND CONSEQUENCE S OF FAILURE TO RESPOND

       Each Appellee identified above and in Dkt. 281 (03-93031 ). their privies, agents, proxies,
surrogates, alter-egos, and all those in active concert therewith, jointly and severally, are hereby
formally put on notice of the foregoing factual predicates establishing their lack of Article Ill
standing and violations of professional conduct rules 3.3 and 8.4.

       Appellees are directed to respond to this Declaration (17-16) (Part 17-16) (Parts I, Il,
II, and IV), supra, in written opposition, under oath, subject to the penalty of perjury, as
officers of the court where applicable, and pursuant to their duties under Rules 3.3 and 8.4
of the District <;ourt ~~-fiA), the ADA, ~nd G~~la Bar:.,! Rules of Professional ~onduct,
1• JaWee Blier: Ml@! 21,;2925, at,&I Nllfterl·f liil. 'Die II Hfllr'.n 11ce.
        Failure by any Appellee (or their authorized counsel) to file a timely, sworn written
opposition specifically refuting the factuqlpredictites in Parts I, II, Ill, and N, above shall result
in each non-responding Appellee being deemed, jointly and severally, to have knowingly and
willfully, with actual and constructive notice of this Joint Declaration (17-16), ,J UDICIALLY
ADMITTED, CONFESSED, STIPULATEq, ~,I) AGREED to the truth and accn.1rac~ of each

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factual P~.!c~t~J 1erein, and !o haye NO ~ N ti111e a■--• tluit' ArBcle fli
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, ..90lt{b)(1...c).

        These judicial admissions shall be binding upon each non-responding Appellee for use in
and for any pwpose with respect to the following judicial proceedings: 02cv22 l 9 (SDNY), 03-
9303 1 (BCNDGA), U.S. v. Ware, 04crl 224(SDNY), U.S. v. Ware, 05crl 115 (SDNY),Jn re Ware
(2008) (Supreme Court of Georgia). 25cv00613 (NDGA), and any other subsequent proceeding
between Appellants and Appellees.

Signed this 28th day of March 2025, under oath, subject to the penalty of perjury, having personal
knowledge of the facts, pursuant to 28 U .S.C. § 1746, in Brooklyn, NY.



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       sses T. W are

            attorney in fact for the Appellants

March 28, 2025
Brooklyn, NY 11226



Page 15of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Dec:laration and Stipulation of Ethics
Violations during the 02tv2219 (SONY}, 03-93031 (BC NOGA), and 25cv00613 (NOGA) proceedings; and
stipulated damages in the sum ~ertain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
    Case 1:25-cv-00613-MLB              Document 41-3          Filed 05/23/25        Page 55 of 62
     Case 1:25-cv-00613-MLB             Document 19-4         Filed 03/31/25       Page 16 of 16




                                      End of Declaration




Page 16 of 16
Friday, March 28, 2025
(17-16) (Part 17-16) re The Parties' Joint Rules 3.3 and Rule 8.4 Declaration and Stipulation of Ethics
Violations during the 02cv2219 (SDNY), 03-93031 (BC NDGA), and 25cv00613 (NOGA) proceedings; and
stipulated damages in the sum certain amount of $5.2225 billion, and entry of consent judgment, jointly
and severally.
     Case 1:25-cv-00613-MLB     Document 41-3   Filed 05/23/25   Page 56 of 62
       Case 1:25-cv-00613-MLB    Document 38    Filed 04/29/25   Page 1 of 2




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


Ulysses T. Ware,

                         Appellant,
                                                Appx D
                                          Case No. 1:25-cv-613-MLB
V.


Alpha Capital, AG, et al.,

                         Appellees.

- - - - - - - - - - - - - -I
                                    ORDER

       The Court DENIES Appellant's motions (Dkts. 12; 14; 19; 22)

because Appellant has not shown the relief he seeks is warranted. The

Court ORDERS Appellant to file a single, consolidated opening appellate

brief no later than May 29, 2025.         Appellant's brief must be titled

"Appellant's Opening Appellate Brief," be double-spaced, not exceed

25 pages, contain everything required by Bankruptcy Rule 8014(a) in the

proper format, and otp.erwise comply with the rules governing opening

briefs in a bankruptcy appeal.        If Appellant believes the Court lacks

jurisdiction to consider his appeal-or that other jurisdictional problems

exist-he may assert those arguments in his opening brief. The docket
   Case 1:25-cv-00613-MLB     Document 41-3   Filed 05/23/25   Page 57 of 62
     Case 1:25-cv-00613-MLB    Document 38    Filed 04/29/25   Page 2 of 2




in this case is already clogged with rambling, incoherent, voluminous,

and unnecessary filings. Going forward, the Court urges Appellant to be

more judicious and restrained about what he chooses to file. If Appellant

does not comply with any of the instructions contained in this Order, the

Court will likely dismiss his appeal, potentially with prejudice.

     SO ORDERED this 29th day of April, 2025.



                                    ~Es
                                 MI(C LL.BROWN
                                                                       q


                                 UNITED STATES DISTRICT JUDGE




                                     2
                      Case 1:25-cv-00613-MLB                    Document 41-3               Filed 05/23/25           Page 58 of 62




                                                                 Appendix E

               Exhibit E-Advisory Committee Notes (Fed. R. App. P. Rule 32)
                       Subdivision (d). Local Variation.

~ Abrief that complies with the national rule should be acceptable in every court. Local rules may move in one
. . . . . . , , , . direction only; they may authorize noncompliance with certain of the national norms. For example, a court that
                     wishes to do so may authorize printing of briefs on both sides of the paper, or the use of smaller type size or. . .
                     sans-serif proportional type. A local rule may not, however, impose requirements that are not in the nationa

                   ~                       lllllllliiii
                     Committee Notes on Rules-2002 Amendment
. . . . . . . . . . Subdivision (a)/2). On occasion, acourt may permit or order the parties to file :upplemental briefs addressing
. . . . . . , , , . an issue that was not addressed-or adequately addressed-in the pnnc1pal briefs. Rule 32(a)(2) has been
                     amended to require that tan covers be used on such supplemental briefs. The amendment is intended to
                     promote uniformity in federal appellate practice. At present, the local rules of the circuit courts conflict. See, e.g. ,
                     D.C. Cir. R. 28(g) (requiring yellow covers on supplemental briefs); 11th Cir. R. 32, 1.0.P. 1 (requiring white covers
                     on supplemental briefs).

                       Changes Made After Publication and Comments. No changes were made to the text of the proposed amendment
                     or to the Committee Note.

 . . . . . . . . . . Subdivision (a)/7)/Q. If the principal brief of aparty exceeds 30 pages, or if the reply brief of a party exceeds 15
 . . . . . . , , , .pages, Rule 32(a)(7)(C) provides that the party or the party's attorney must certify that the brief complies with
                    the type-volume limitation of Rule 32{a)(7)(B). Rule 32(aX7XC) has been amended to refer to Form 6(which has
                    been added to the Appendix of Forms) and to provide that a party or attorney who uses Form
                    with Rule 32(a)(7)(C). No court may provide to the contrary, in its local rules or otherwise.
                  Committee Notes on Rules-2016 Amendment

                    When Rule 32(a)(7)(B)'s type-volume limits for briefs were adopted in 1998, the word limits were based on an
                  estimate of 280 words per page. In ~he course of adopting word limits for the length limits in Rules 5, 21, 27, 35,
                  and 40, and responding to concern about the length of briefs, the Committee has reevaluated the conversion
                  ratio (from pages to words} and decided to apply a conversion ratio of 260 words per page. Rules 28.1 and 32(a)
                  {7)(B) are amended to reduce the word limits accordingly.

                    In a complex case, a party may need to file a brief that exceeds the type-volume limitations specified in these
                  rules, such as to include unqsqaUy Y91HWiP911§ jpfgrmatjgp explaining relevant background or legal provisions
                  or to respond to multiple briefs by opposing parties or amici. The Committee expects that courts will
                  accommodate those situations by granting leave to exceed the type-volume limitations as appropriate.              . . .
                    Subdivision (e) is amended to make clear a court's ability (by local rule or order in a case) to increase the
                  leoerb ijmits   brje[5
                                for         and other documents. Subdivision (e) already established this authority as to the length
                  limits in Rule 32(a)(7); the amendment makes clear that this authority extends to all length limits in the Appellate
                  Rules.

              Page 1 of 2
              Appx E: 25cv00613 (NDGA)-Advisory Committee Notes Rule 32
      Case 1:25-cv-00613-MLB    Document 41-3     Filed 05/23/25   Page 59 of 62




                            [End of document]




Page 2 of 2
Appx E: 2Scv00613 (NDGA)-Advisory Committee Notes Rule 32
                Case 1:25-cv-00613-MLB       Document 41-3      Filed 05/23/25   Page 60 of 62




                                              AppendixF

          Appx F--Rule 83. Rules by District Courts; Judge's Directives
          (a) LOCAL RULES.

               (1) In General. After giving public notice and an opportunity for comment, a
            district court, acting by a majority of its district judges, may adopt and amend
            rules governing its practice. A local rule must be consistent with-but not
            dupl icate-federa l statutes and rules adopted under 28 U.S.C. §§2072 and 2075.
            and must conform to any uniform numbering system prescribed by the Judicial
            Conference of the United States. A local rule takes effect on the date specified by
            the district court and remains in effect unless amended by the court or abrogated
            by the judicial council of the circuit. Copies of rules and amendments must. on
            their adoption. be furnished to the judicial council and the Administrative Office
            of the United States Courts and be made ava ilable to the public.
~ (2) Requirement of Form. A local rule imposing a requirement of form must not
~ e enforced in a way that causes a party to lose any right because of a nonwillful
   failu re to comply .
   (b) PROCEDURE WHEN THERE Is No CONTROLLING LAW. A judge may regulate practice in any
. .manner           cogsjstegt wjth
                              federal law, rules adopted under 28 u.s.c. §§2072 and 2075.
   and the district's local ~ules. Ngsanction qr other disqdyqntgge may bg imposed for
          noncompliance with any requirement not in (ederg( law. (edergl rules, or the local
          rules unless the alleged violator has been furnished in the particular case with
          Qctual notice of the requirement.




                                        [End of document]




          Page 1 of 1
          Appx F: 2Scv00613 (NDGA)-Fed. R. Civ. P. 83 (Local Rules)
    Case 1:25-cv-00613-MLB   Document 41-3         Filed 05/23/25   Page 61 of 62




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